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                                 Exhibit 1
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                                                                                              BUSINESSOW NERS



             BUSINESSOWNERS PROPERTY COVERAGE
                       SPECIAL FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the Company prov iding this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Paragraph G            PROP-
ERTY DEFINITIONS.
A. COVERAGE                                                                   (f) Lawn maintenance and snow re-
    W e will pay for direct physical loss of or damage                            moval equipment; and
    to Covered Property at the premises described in                          (g) Alarm systems; and
    the Declarations caused by or resulting from a                       (8) If not covered by other insurance:
    Covered Cause of Loss.
                                                                              (a) Additions under construction, al-
    1. Covered Property                                                           terations and repairs to the build-
        Covered Property, as used in this Coverage                                ing or structure; and
        Form, means the type of property described                          (b) Materials, equipment, supplies
        in this Paragraph A.1., and limited in Para-                             and temporary structures, on or
        graph A.2., Property Not Covered, if a Limit of                          within 1,000 feet of the described
        Insurance is shown in the Declarations for                               premises, used for making addi-
        that type of property.                                                   tions, alterations or repairs to the
        a. Building, meaning the building or struc-                              building or structure.
           ture described in the Declarations, includ-               b. Business Personal Property located in
           ing:                                                         or on the buildings described in the Dec-
            (1) Completed additions;                                    larations or in the open (or in a vehicle)
                                                                        within 1,000 feet of the described prem-
            (2) Fences;                                                 ises, including:
            (3) Fixtures, including outdoor fixtures;                    (1) Property owned by you and used in
            (4) Retaining walls, whether or not at-                          your business;
                tached;                                                  (2) Property of others that is in your care,
            (5) Permanently attached:                                        custody or control;
                 (a) Machinery; and                                      (3) Your use interest as tenant in         im-
                 (b) Equipment;                                              provements and betterments.            Im-
                                                                             provements and betterments are         fix-
            (6) Outdoor swimming pools;
                                                                             tures, alterations, installations or   ad-
            (7) Personal property owned by you that                          ditions:
                is used to maintain or service the                            (a) Made a part of the building or
                building or structure or its premises,                            structure you rent, lease or oc-
                including:                                                        cupy but do not own; and
                 (a) Fire extinguishing equipment;                            (b) You acquired or made at your
                 (b) Outdoor furniture;                                           expense but are not permitted to
                 (c) Floor coverings;                                             remove; and
                 (d) Lobby and hallway furnishings;                      (4) "Money" and "Securities".
                 (e) Appliances used for refrigerating,          2. Property Not Covered
                     ventilating, cooking, dishwashing               Unless the following is added by endorse-
                     or laundering;                                  ment to this Coverage Form , Covered Prop-
                                                                     erty does not include:




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       a. Aircraft;                                              l.   "Valuable Papers and Records", except
       b. Automobiles held for sale;                                  as provided in the Valuable Papers and
                                                                      Records Coverage Extension;
       c. Vehicles or self-propelled machines that
          are:                                                   m. Property that is covered under another
                                                                    Coverage Form of this or any other policy
            (1) Licensed for use on public roads; or                in which it is more specifically described,
            (2) Operated principally away from the                  except for the excess of the amount due
                described premises;                                 (whether you can collect on it or not) from
                                                                    that other insurance;
            This paragraph does not apply to:
                                                                 n. "Fine Arts" except as provided in the Fine
            (1) Vehicles or self-propelled machines                 Arts Additional Coverage;
                or autos you manufacture, process or
                warehouse;                                       o. Bullion, gold, silver, platinum and other
                                                                    precious alloys or metals, except if they
            (2) Vehicles or self-propelled machines,                are used in your "operations" (theft limita-
                other than autos, you hold for sale; or             tion applies);
            (3) Trailers or semi-trailers, except as             p. "Electronic Data Processing Equipment"
                provided in the Non-Owned Detached                  (not including "stock") except as provided
                Trailers Coverage Extension.                        in the Electronic Data Processing Cover-
       d. Dams or dikes;                                            age Extension;
       e. Contraband, or property in the course of               q. "Electronic Data Processing Data and
          illegal transportation or trade;                          Media" (not including "stock") except as
                                                                    provided in the Electronic Data Process-
       f.   The cost of excavating, grading, backfill-
                                                                    ing Coverage Extension or in the Ac-
            ing or filling (except those costs made                 counts Receivable Coverage Extension;
            necessary due to repair of buildings in-                or
            sured under this Coverage Form from a
            Covered Cause of Loss), reclaiming or                r.Outdoor signs, except as provided in the
            restoring land or water;                               Signs Coverage Extension.
       g. W ater or land whether in its natural state        3. Business Income and Extra Expense
          or otherwise (including land on which the              Business Income and Extra Expense is pro-
          property is located), land improvements,               vided at the premises described in the Decla-
          growing crops or standing timber;                      rations when the Declarations show that you
       h. Outdoor trees, shrubs, plants and lawns,               have coverage for Business Income and Ex-
          other than "stock" except as provided in               tra Expense.
          the Outdoor Trees, Shrubs, Plants and                  a. Business Income
          Lawns Coverage Extension.
                                                                      (1) Business Income means:
       i.   The following property while outside of
                                                                          (a) Net Income (Net Profit or Loss
            the buildings:
                                                                              before income taxes) that would
            (1) Bridges, walks, roadways, patios or                           have been earned or incurred, in-
                other paved surfaces; or                                      cluding:
            (2) Outdoor radio or television antennas,                         (i) "Rental Value"; and
                (including satellite dishes) and includ-                      (ii) "Maintenance Fees", if you
                ing their lead-in wiring, masts or tow-                             are a condominium associa-
                ers;                                                                tion; and
            except as provided in the Outdoor Prop-                       (b) Continuing normal operating ex-
            erty Coverage Extension;                                          penses incurred, including pay-
       j. W atercraft (including motors, equipment                            roll.
          and accessories) while afloat;                              (2) W e will pay for the actual loss of
       k. Accounts and bills, except as provided in                       Business Income you sustain due to
          the Accounts Receivable Cov erage Ex-                           the necessary "suspension" of your
          tension;                                                        "operations" during the "period of res-
                                                                          toration". The "suspension" must be



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                 caused by direct physical loss of or                   to the extent it reduces the amount of
                 damage to property at the described                    loss that otherwise would have been
                 premises. The loss or damage must                      payable under Paragraph a. Business
                 be caused by or result from a Cov-                     Income, abov e.
                 ered Cause of Loss. W ith respect to            c. Extended Business Income
                 loss of or damage to personal prop-
                 erty in the open or personal property              If the necessary "suspension" of your
                                                                    "operations" produces a Business Income
                 in a vehicle, the described premises
                                                                    loss payable under Paragraph a. Busi-
                 include the area within 1,000 feet of
                                                                    ness Income above, we will also pay for
                 the site at which the described prem-              the actual loss of Business Income you
                 ises are located.                                  sustain during the period that:
          (3) W ith respect to the requirements set                 (1) Begins on the date property is actu-
              forth in Paragraph (2) above, if you                      ally repaired, rebuilt or replaced and
              rent, lease or occupy only part of the                    "operations" are resumed; and
              site at which the described premises
              are located, the described premises                   (2) Ends on the earlier of:
              means:                                                    (a) The date you could restore your
                 (a) The portion of the building which                      "operations" with reasonable
                     you rent, lease or occupy; and                         speed, to the level which would
                                                                            generate the Business Income
                 (b) Any area within the building or on                     amount that would have existed if
                     the site at which the described                        no direct physical loss or damage
                     premises are located, if that area                     occurred; or
                     services, or is used to gain ac-
                     cess to, the described premises.                   (b) Sixty consecutive days after the
                                                                            date determined in Paragraph (1)
       b. Extra Expense                                                     above.
          (1) Extra Expense means reasonable                        However, this extended Business Income
              and necessary expenses you incur                      does not apply to loss of Business In-
              during the "period of restoration" that               come incurred as a result of unfavorable
              you would not have incurred if there                  business conditions caused by the impact
              had been no direct physical loss of or                of the Cov ered Cause of Loss in the area
              damage to property caused by or re-                   where the described premises are lo-
              sulting from a Covered Cause of                       cated.
              Loss.                                              d. If the Declarations show for Business In-
          (2) W e will pay Extra Expense (other                     come and Extra Expense:
              than the expense to repair or replace                 (1) Actual loss for 12 consecutive
              property) to:                                             months, then we will pay for loss of
                 (a) Avoid or minimize the "suspen-                     Business Income and Extra Expense
                     sion" of business and to continue                  that occurs within 12 consecutive
                     "operations" at the described                      months following the date of direct
                     premises or at replacement                         physical loss or damage; or
                     premises or temporary locations,
                                                                    (2) Actual loss up to 12 consecutive
                     including relocation expenses
                                                                        months subject to a maximum dollar
                     and costs to equip and operate
                     the replacement premises or                        limit, then we will pay for loss of Busi-
                     temporary locations; or                            ness Income and Extra Expense that
                                                                        occurs within 12 consecutive months
                 (b) Minimize the "suspension" of                       following the date of direct physical
                     business if you cannot continue                    loss or damage, subject to the limit
                     "operations".                                      shown in any one occurrence.
          (3) W e will also pay Extra Expense (in-           4. Covered Causes of Loss
              cluding Expediting Expenses) to re-
              pair or replace the property, but only             RISKS OF DIRECT PHYSICAL LOSS unless
                                                                 the loss is:



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       a. Limited in Paragraph A.5., Limitations; or                     (b) Containers of property held for
       b. Excluded in Paragraph B., Exclusions.                              sale; or
   5. Limitations                                                        (c) Photographic or scientific instru-
                                                                             ment lenses.
       a. W e will not pay for loss of or damage to:
                                                                 c. For loss or damage by "theft", the most
           (1) The "interior of any building or struc-              we will pay in any one occurrence for the
               ture" or to personal property in the                 following types of property is:
               building or structure, caused by rain,
                                                                     (1) $2,500 for all furs, fur garments and
               snow, sleet, ice, sand or dust,
                                                                         garments trimmed with fur.
               whether driven by wind or not,
               unless:                                               (2) $5,000 for all jewelry, watches, watch
               (a) The building or structure first sus-                  movements, jewels, pearls, precious
                   tains damage by a Cov ered                            and semi-precious stones, bullion,
                   Cause of Loss to its roof or walls                    gold, silver, platinum and other pre-
                   through which the rain, snow,                         cious alloys or metals. This limit does
                   sleet, ice, sand or dust enters; or                   not apply to jewelry and watches
                                                                         worth $500 or less per item.
               (b) The loss or damage is caused by
                   or results from thawing of snow,                  (3) $2,500 for all patterns, dies, molds
                   sleet or ice on the building or                       and forms.
                   structure.                                    d. W e will not pay for any loss or damage
           (2) Steam boilers, steam pipes, steam                    caused by any of the following, even if
               engines, or steam turbines, caused                   they are Covered Causes of Loss, if the
               by or resulting from any condition or                building where loss or damage occurs
               event inside such equipment. But we                  has been "vacant" for more than 60 con-
               will pay for loss of or damage to such               secutive days before that loss or damage
               equipment caused by or resulting                     occurs:
               from an explosion of gases or fuel                    (1) Vandalism;
               within the furnace of any fired vessel                (2) Sprinkler Leakage, unless you have
               or within the flues or passages                           protected the system against freez-
               through which the gases of combus-                        ing;
               tion pass.
                                                                     (3) Building glass breakage;
           (3) Hot water boilers or other water heat-
               ing equipment caused by or resulting                  (4) Discharge or leakage of water;
               from any condition or event inside                    (5) "Theft"; or
               such boilers or equipment, other than                 (6) Attempted "theft".
               explosion.
                                                                     W ith respect to Covered Causes of Loss
       b. W e will not pay for loss of or damage to                  other than those listed in Paragraphs (1)
          the following types of property unless                     through (6) above, we will reduce the
          caused by any of the "specified causes of                  amount we would otherwise pay for the
          loss" or building glass breakage:                          loss or damage by 15%.
           (1) Live animals, birds or fish, and then             e. Coverage for Business Income and Extra
               only if they are killed or their destruc-            Expense does not apply to any loss or in-
               tion is made necessary.                              crease in loss caused by direct physical
           (2) Fragile articles such as glassware,                  loss of or damage to "Electronic Data
               statuary, marbles, chinaware and                     Processing Data and Media", except as
               porcelains, if broken. This limitation               provided in the Interruption of Computer
               does not apply to:                                   Operations Coverage Extension.
               (a) Glass that is part of the exterior        6. Additional Coverages
                   or interior of a building or struc-           Unless otherwise stated, payments made un-
                   ture;                                         der the following Additional Coverages are in
                                                                 addition to the applicable Limits of Insurance.




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       a. Arson and Theft Reward                                        ing within 180 days of the date of di-
          (1) W e will pay for reasonable expenses                      rect physical loss or damage.
              you incur for rewards that lead to:                   (2) Debris Removal does not apply to
                 (a) An arson conviction in connection                  costs to:
                     with a covered fire or explosion                   (a) Extract "pollutants" from land or
                     loss, or                                               water; or
                 (b) A "theft" conviction in connection                 (b) Remove, restore or replace pol-
                     with a covered "theft" loss.                           luted land or water.
          (2) The most we will pay under this Addi-                 (3) Except as provided in Paragraph (4)
              tional Coverage in connection with a                      below, payment for Debris Removal
              particular loss is $5,000.                                is included within the applicable Limit
       b. Claim Data Expense                                            of Insurance shown in the Declara-
                                                                        tions. The most we will pay under this
          (1) W e will pay the reasonable expenses
                                                                        Additional Coverage is 25% of:
              you incur in preparing claim data
              when we require such data to show                         (a) The amount we pay for the direct
              the extent of loss. This includes the                         physical loss or damage to Cov-
              cost of taking inventories, making ap-                        ered Property; plus
              praisals, preparing income state-                         (b) The deductible in this Coverage
              ments, and preparing other documen-                           Form applicable to that loss or
              tation.                                                       damage.
          (2) Under this Additional Coverage, we                    (4) W hen the debris removal expense
              will not pay for:                                         exceeds the 25% limitation in Para-
                 (a) Any expenses incurred, directed,                   graph (3) above or when the sum of
                     or billed by or payable to attor-                  the debris removal expense and the
                     neys, insurance adjusters or their                 amount we pay for the direct physical
                     associates or subsidiaries;                        loss of or damage to Covered Prop-
                                                                        erty exceeds the applicable Limit of
                 (b) Any costs in connection with
                                                                        Insurance, we will pay up to an addi-
                     Paragraph E.2., Appraisal; or
                                                                        tional $25,000 for debris removal ex-
                 (c) Any expenses incurred, directed,                   pense in any one occurrence, at each
                     or billed by or payable to insur-                  described premises.
                     ance brokers or agents, or their
                                                                 d. Employee Dishonesty
                     associates or subsidiaries, with-
                     out our written consent prior to               (1) W e will pay for loss of or damage to
                     such expenses being incurred.                      Covered Property resulting directly
          (3) The most we will pay for preparation                      from "employee dishonesty".
              of claim data under this Additional                       W e will pay for loss or damage you
              Coverage in any one occurrence is                         sustain through acts committed or
              $5,000 regardless of the number of                        events occurring during the Policy
              premises involved.                                        Period. Regardless of the number of
                                                                        years this insurance remains in force
       c. Debris Removal
                                                                        or the number of premiums paid, no
          (1) W e will pay your expense to remove                       Limit of Insurance cumulates year to
              debris of Covered Property, other                         year or period to period.
              than outdoor trees, shrubs, plants                    (2) Paragraphs B.2.h. and B.2.o. do not
              and lawns as described in the Out-                        apply to this Additional Coverage.
              door Trees, Shrubs, Plants and
              Lawns Coverage Extension, caused                      (3) W e will not pay for loss resulting from
              by or resulting from a Covered Cause                      the dishonest acts of any "employee"
              of Loss that occurs during the policy                     if coverage for that "employee" was
              period. The expenses will be paid                         either cancelled or ex cluded from any
              only if they are reported to us in writ-                  previous insurance policy of yours




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               providing     "employee    dishonesty"                    (a) This Additional Coverage, as of
               coverage.                                                     its effective date; or
           (4) This Additional Coverage is cancelled                     (b) The prior "Employee Dishonesty"
               as to any "employee" immediately                              insurance, had it remained in ef-
               upon discovery by:                                            fect.
               (a) You; or                                      e. Expediting Expenses
               (b) Any of your partners, "members",                  (1) In the event of direct physical loss of
                   "managers", officers, directors or                    or damage to Covered Property
                   trustees, not in collusion with the                   caused by or resulting from a Cov-
                   "employee",                                           ered Cause of Loss, we will pay for
               of any fraudulent dishonest act com-                      the reasonable and necessary addi-
               mitted by that "employee" before or                       tional expenses you incur to make
               after being employed by you.                              temporary repairs, expedite perma-
                                                                         nent repairs, or expedite permanent
           (5) W e will pay for cov ered loss or dam-                    replacement, at the premises sustain-
               age only if discovered no later than                      ing loss or damage. Expediting ex-
               one year from the end of the Policy                       penses include overtime wages and
               Period.                                                   the extra cost of express or other
           (6) The most we will pay for loss or dam-                     rapid means of transportation. Expe-
               age under this Additional Coverage in                     diting expenses do not include ex-
               any one occurrence is $25,000.                            penses you incur for the temporary
           (7) W ith respect to this Additional Cover-                   rental of property or temporary re-
               age, occurrence means all loss or                         placement of damaged property.
               damage caused by or involving the                     (2) W ith respect to this Additional Cov er-
               same "employee(s)" whether the re-                        age, "breakdown" to "covered equip-
               sult of a single act or series of acts.                   ment" will not be considered a Cov-
           (8) If, during the period of any prior "Em-                   ered Cause of Loss, even if otherwise
               ployee Dishonesty" insurance, you                         covered elsewhere in this Coverage
               (or any predecessor in interest) sus-                     Form.
               tained loss or damage that you could                  (3) The most we will pay under this Addi-
               have recovered under that insurance,                      tional Coverage in any one occur-
               except that the time within which to                      rence is $25,000, regardless of the
               discover loss or damage has expired,                      number of premises involved.
               we will pay for it under this Additional         f.   Fine Arts
               Coverage, subject to the following:
                                                                     (1) W hen a Limit of Insurance is shown
               (a) This insurance became effective                       in the Declarations for Business Per-
                   at the time of cancellation or ter-                   sonal Property at any described
                   mination of the prior insurance;                      premises, we will pay for direct physi-
                   and
                                                                         cal loss of or damage to "fine arts"
               (b) The loss or damage would have                         which are owned by:
                   been covered by this insurance
                                                                         (a) You; or
                   had it been in effect when the
                   acts or events causing the loss or                    (b) Others and in your care, custody,
                   damage were committed or oc-                              or control;
                   curred.                                               caused by or resulting from a Cov-
           (9) The insurance provided under Para-                        ered Cause of Loss, including while
               graph (8) above is part of, not in addi-                  on exhibit, anywhere within the Cov-
               tion to the Limit of Insurance de-                        erage Territory.
               scribed in Paragraph (6) above and is                 (2) The breakage limitation under Para-
               limited to the lesser of the amount re-                   graph A.5.b.(2) does not apply to this
               coverable under:                                          Additional Coverage.




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          (3) The following exclusions apply to this                   liability for   fire   department   service
              Additional Coverage:                                     charges:
                 (a) W e will not pay for loss or dam-                 (1) Assumed by contract or agreement
                     age caused by or resulting from                       prior to loss; or
                     wear and tear, any quality in the                 (2) Required by local ordinance.
                     property that causes it to damage
                     or destroy itself, gradual deterio-          h. Fire Protective Equipment Discharge
                     ration, insects, birds, rodents or                (1) If fire protective equipment dis-
                     other animals;                                        charges accidentally or to control a
                 (b) W e will not pay for loss or dam-                     Covered Cause of Loss we will pay
                     age caused by or resulting from                       your cost to:
                     dampness or dryness of atmos-                         (a) Refill or recharge the system with
                     phere, or changes in or extremes                          the extinguishing agents that
                     of temperature;                                           were discharged; and
                 (c) W e will not pay for loss or dam-                     (b) Replace or repair faulty valves or
                     age caused by or resulting from                           controls which caused the dis-
                     any repairing, restoration or re-                         charge.
                     touching process;
                                                                       (2) The most we will pay under this Addi-
                 (d) W e will not pay for loss or dam-                     tional Coverage in any one occur-
                     age caused by or resulting from                       rence is $10,000, regardless of the
                     faulty packing;                                       number of premises involved.
                 (e) Paragraph B.1.b. Earth Move-                 i.   Forgery or Alteration
                     ment;
                                                                       (1) W e will pay for loss resulting directly
                 (f) Paragraph B.1.c. Governmental
                                                                           from "forgery" or alteration of checks,
                     Action;
                                                                           drafts, promissory notes, or similar
                 (g) Paragraph B.1.d. Nuclear Haz-                         written promises, orders or directions
                     ard;                                                  to pay a sum certain in money that
                 (h) Paragraph B.1.f. War and Military                     are made or drawn by or drawn upon
                     Action;                                               you, or made or drawn by one acting
                 (i) Paragraph B.1.g. Water;                               as an agent or purported to have
                                                                           been so made or drawn.
                 (j) Paragraph B.1.h. Neglect; and
                                                                           W e will consider signatures that are
                 (k) Paragraph B.2.g.
                                                                           produced or reproduced electroni-
                 No other exclusions in Paragraph B.                       cally, mechanically or by facsimile the
                 Exclusions apply to this Additional                       same as handwritten signatures.
                 Coverage. However, if any exclusions
                                                                           W e will pay for loss that you sustain
                 are added by endorsement to this
                                                                           through acts committed or events oc-
                 Coverage Form, such exclusions will
                                                                           curring during the Policy Period. Re-
                 apply to this Additional Coverage.
                                                                           gardless of the number of years this
          (4) The most we pay for loss or damage                           insurance remains in force or the
              under this Additional Cov erage in any                       number of premiums paid, no Limit of
              one occurrence is $25,000, or the                            Insurance cumulates from year to
              amount shown in the Declarations for                         year or period to period.
              "fine arts", whichever is greater. This
                                                                       (2) W e will not pay for loss resulting from
              limit applies regardless of the number
                                                                           any dishonest or criminal acts com-
              of premises involved.
                                                                           mitted by you or any of your partners,
       g. Fire Department Service Charge                                   "employees", "members", "manag-
          W hen the fire department is called to                           ers", officers, directors or trustees
          save or protect Covered Property from a                          whether acting alone or in collusion
          Covered Cause of Loss, we will pay up to                         with other persons.
          $25,000 in any one occurrence for your



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           (3) W e will pay for covered loss discov-                    fend against the suit, we will pay for
               ered no later than one year from the                     any reasonable legal expenses that
               end of the Policy Period.                                you incur and pay in that defense.
           (4) The most we will pay for loss under                      The amount we will pay for these le-
               this Additional Coverage in any one                      gal expenses will be part of and not in
               occurrence is $25,000, regardless of                     addition to the limit described in
               the number of premises involved.                         Paragraph (4) above.
           (5) W ith respect to this Additional Cover-          j.   Newly Acquired or Constructed Prop-
               age, occurrence means all loss                        erty
               caused by any person, or in which                     (1) Buildings
               that person is concerned or impli-                       (a) W e will pay for direct physical
               cated, either resulting from a single                        loss of or damage to the following
               act or any number of such acts,                              property caused by or resulting
               whether the loss involves one or                             from a Covered Cause of Loss:
               more instruments.                                            (i) Your:
           (6) If, during the period of any prior For-                           a) New buildings while be-
               gery or Alteration insurance, you (or                                ing built on a premises
               any predecessor in interest) sus-                                    shown in the Declara-
               tained loss or damage that you could                                 tions;
               have recovered under that insurance,
                                                                                 b) New buildings while be-
               except that the time within which to
                                                                                    ing built on newly ac-
               discover loss or damage has expired,                                 quired premises; and
               we will pay for it under this Additional
               Coverage prov ided:                                               c) Materials,    equipment,
                                                                                    supplies and temporary
               (a) This insurance became effective                                  structures used in con-
                   at the time of cancellation or ter-                              nection with such build-
                   mination of the prior insurance;                                 ings while they are being
                   and                                                              built; or
               (b) The loss would have been cov-                            (ii) Buildings you acquire by pur-
                   ered by this insurance had it                                 chase or lease at any prem-
                   been in effect when the acts or                               ises, including those prem-
                   events causing the loss were                                  ises shown in the Declara-
                   committed or occurred.                                        tions.
           (7) The insurance provided under Para-                       (b) The most we will pay for loss of
               graph (6) above is part of, and not in                       or damage to newly constructed
               addition to the limit described in Para-                     buildings or newly acquired build-
               graph (4) above and is limited to the                        ings under this Additional Cover-
               lesser of the amount recoverable un-                         age in any one occurrence is
               der:                                                         $500,000 at each premises.
               (a) This Additional Coverage up to                    (2) Business Personal Property
                   the applicable Limit of Insurance
                                                                        (a) W hen a Limit of Insurance is
                   under this Coverage Form, as of
                                                                            shown in the Declarations for
                   its effective date; or
                                                                            Business Personal Property at
               (b) The prior Forgery or Alteration in-                      any described premises, we will
                   surance, had it remained in ef-                          pay for direct physical loss of or
                   fect.                                                    damage to the following property
           (8) If you are sued for refusing to pay                          caused by or resulting from a
               any covered instrument described in                          Covered Cause of Loss:
               Paragraph (1) above on the basis                             (i) Business Personal Property,
               that it has been forged or altered, and                          including such property that
               you have our written consent to de-                              you newly acquire, at a build-




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                         ing you acquire by purchase                         property as a consequence of en-
                         or lease at any premises, in-                       forcement of the minimum re-
                         cluding    those   premises                         quirements of any ordinance or
                         shown in the Declarations;                          law. This increased cost of con-
                         and                                                 struction coverage applies only if:
                     (ii) Business Personal Property                         (i) The building is insured for re-
                          that you newly acquire at a                            placement cost;
                          described premises.                                (ii) The building is repaired, re-
                 (b) The most we will pay for loss of                             built or reconstructed; and
                     or damage to Business Personal                          (iii) The repaired, rebuilt or re-
                     Property under this Additional                                constructed building is in-
                     Coverage in any one occurrence                                tended for similar occupancy
                     is $250,000 at each premises.                                 as the current building,
          (3) Period Of Coverage                                                   unless otherwise required by
                 (a) W ith respect to insurance under                              zoning or land use ordinance
                     this Additional Coverage, cover-                              or law.
                     age will end when any of the fol-               (2) The ordinance or law referred to in
                     lowing first occurs:                                this Additional Coverage is an ordi-
                     (i) This policy expires;                            nance or Law that:
                     (ii) 180 days expire after you ac-                  (a) Regulates the demolition, con-
                          quire the property or begin to                     struction or repair of buildings, or
                          construct the property;                            establishes zoning or land use
                                                                             requirements at the described
                     (iii) You report values to us; or                       premises; and
                     (iv) The property is more specifi-                  (b) Is in force at the time of the loss.
                          cally insured.
                                                                     (3) W e will not pay under this Additional
                 (b) W e will charge you additional
                                                                         Coverage for:
                     premium for values reported to us
                     from the date construction begins                   (a) Loss due to any ordinance or law
                     or you acquire the property.                            that:
       k. Ordinance or Law                                                   (i) You were required to comply
                                                                                  with before the loss, even if
          (1) In the event of damage by a Covered
                                                                                  the building was undamaged;
              Cause of Loss to a building that is                                 and
              Covered Property, we will pay for:
                                                                             (ii) You failed to comply with; or
                 (a) Loss in value of the undamaged
                     portion of the building as a con-                   (b) Costs associated with the en-
                     sequence of enforcement of the                          forcement of any ordinance or
                     minimum requirements of any or-                         law that requires any insured or
                     dinance or law that requires the                        others to test for, monitor, clean
                     demolition of undamaged parts of                        up, remove, contain, treat, detox-
                     the same building;                                      ify or neutralize, or in any way re-
                                                                             spond to, or assess the effects of
                 (b) Demolition cost, meaning the                            "pollutants".
                     cost to demolish and clear the
                     site of undamaged parts of the                  (4) Paragraph B.1.a. does not apply to
                     same building as a consequence                      this Additional Cov erage.
                     of enforcement of the minimum                   (5) Subject to the limit described in
                     requirements of any ordinance or                    Paragraph (6) below:
                     law that required demolition of
                                                                         (a) The insurance provided under
                     such undamaged property; and
                                                                             this Additional Cov erage for loss
                 (c) The increased cost of construc-                         in value to the undamaged por-
                     tion, meaning the increased cost                        tion of the building is limited as
                     to repair, rebuild or construct the                     follows:



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                   (i) If Replacement Cost Cover-                    (6) The most we will pay for loss under
                       age applies and the building                      this Additional Coverage for the total
                       is repaired or replaced on the                    of all coverages described in Para-
                       same or another premises,                         graph (1) above in any one occur-
                       we will not pay more than the                     rence is $25,000 at each described
                       lesser of:                                        premises.
                       a) The amount you actually               l.   Outdoor Trees, Shrubs, Plants and
                          spend to repair, rebuild                   Lawns
                          or reconstruct the un-
                          damaged portion of the                     (1) W e will pay for direct physical loss of
                          building; or                                   or damage to outdoor trees, shrubs,
                                                                         plants (other than "stock" of trees,
                        b) The amount it would cost
                                                                         shrubs or plants) and lawns located
                            to restore the undam-
                                                                         at the described premises caused by
                            aged portion of the build-
                                                                         or resulting from a Covered Cause of
                            ing on the same prem-
                                                                         Loss.
                            ises and to the same
                            height, floor area, style                (2) The most we will pay for loss or dam-
                            and comparable quality                       age under this Additional Cov erage in
                            of the original undam-                       any one occurrence is $3,000 at each
                            aged portion of the build-                   described premises.
                            ing; or
                                                                     (3) Debris removal, because of covered
                   (ii) If Replacement Cost Cover-                       loss or damage to outdoor trees,
                        age applies and the building                     shrubs, plants and lawns, is included
                        is not repaired or replaced, or                  within the limits described in Para-
                        if Replacement Cost Cover-                       graph (2) above.
                        age does not apply, we will
                        not pay more than the actual            m. Pollutant Cleanup and Removal
                        cash value of the undamaged                  (1) W e will pay your necessary and rea-
                        portion of the building at the                   sonable expense to extract "pollut-
                        time of loss.                                    ants" from land or water at the de-
                (b) W e will not pay more for demoli-                    scribed premises, if the discharge,
                    tion costs than the amount you                       dispersal, seepage, migration, re-
                    actually spend to demolish and                       lease or escape of the "pollutants" is
                    clear the site of the described                      caused by or results from a "specified
                    premises.                                            cause of loss" which occurs:
                (c) The insurance provided under                         (a) At the described premises;
                    this Additional Coverage for in-                     (b) To Covered Property; and
                    creased cost of construction is
                    limited as follows:                                  (c) During the policy period.
                   (i) If the building is repaired or                (2) The expenses will be paid only if they
                       replaced at the same prem-                        are reported to us in writing within
                       ises, or if you elect to rebuild                  180 days of the date on which the
                       at another premises, the                          "specified cause of loss" occurs.
                       most we will pay is the in-                   (3) This Additional Coverage does not
                       creased cost of construction                      apply to costs to test for, monitor or
                       at the same premises; or                          assess the existence, concentration
                   (ii) If the ordinance or law re-                      or effects of "pollutants". But we will
                        quires relocation to another                     pay for testing which is performed in
                        premises, the most we will                       the course of extracting the "pollut-
                        pay is the increased cost of                     ants" from the land or water.
                        construction at the new prem-
                        ises.                                        (4) The most we will pay under this Addi-
                                                                         tional Coverage is $25,000 for the
                                                                         sum of all covered expenses arising



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                 out of all Covered Causes of Loss                        (a) Caused by or resulting from a
                 occurring during each separate 12                            Covered Cause of Loss;
                 month period of this policy beginning                    (b) Up to $50,000 at each temporary
                 with the effectiv e date of this policy.                     location in any one occurrence;
                 This amount applies regardless of the                        and
                 number of premises involved.
                                                                          (c) During the storage period of up to
       n. Preservation of Property                                            90 consecutive days but not be-
          (1) If it is necessary to move Covered                              yond expiration of this policy.
              Property from the described premises                    (2) This Additional Coverage does not
              to preserve it from loss or damage by                       apply if the stored property is more
              a Covered Cause of Loss, we will pay                        specifically insured.
              for:                                                p. Water Damage, Other Liquids, Powder
                 (a) Any direct physical loss of or                  or Molten Material Damage
                     damage to such property while:                   (1) If loss or damage caused by or result-
                     (i) Being moved; or                                  ing from covered water or other liq-
                     (ii) Temporarily stored at another                   uid, powder or molten material dam-
                          location only if the loss or                    age occurs, we will also pay the cost
                          damage occurs within 90                         to tear out and replace any part of the
                          days after the property is first                building or structure to repair damage
                          moved; and                                      to the system or appliance from
                 (b) The costs incurred to:                               which the water or other substance
                                                                          escapes.
                     (i) Remove such property from
                          the described premises; and                 (2) W e will not pay the cost to repair any
                                                                          defect to a system or appliance from
                     (ii) Return such property to the
                                                                          which the water, other liquid, powder
                          described premises.
                                                                          or molten material escapes. But we
          (2) Coverage under this Additional Cov-                         will pay the cost to repair or replace
              erage will end when any of the follow-                      damaged parts of fire extinguishing
              ing first occurs:                                           equipment if the damage:
                 (a) W hen the policy is amended to                       (a) Results in discharge of any sub-
                     provide insurance at the new lo-                         stance from an automatic fire pro-
                     cation;                                                  tection system; or
                 (b) The property is returned to the                      (b) Is directly caused by freezing.
                     original described premises;
                                                                      (3) Payments under this Additional Cov-
                 (c) 90 days expire after the property                    erage are subject to and not in addi-
                     is first moved; or                                   tion to the applicable Limit of Insur-
                 (d) This policy expires.                                 ance.
          (3) Payments under this Additional Cov-             7. Coverage Extensions
              erage are subject to and not in addi-               Unless otherwise stated, payments made un-
              tion to the applicable Limit of Insur-              der the following Coverage Extensions are
              ance.                                               subject to and not in addition to the applicable
       o. Temporary Relocation of Property                        Limits of Insurance.
          (1) If Covered Property is removed from                 a. Accounts Receivable
              the described premises and stored                       (1) W hen a Limit of Insurance is shown
              temporarily at a location you own,                          in the Declarations for Business Per-
              lease or operate while the described                        sonal Property at the described prem-
              premises is being renovated or re-                          ises, you may extend that insurance
              modeled, we will pay for direct physi-                      to apply to loss, as described in
              cal loss of or damage to that stored                        Paragraph (2) below, due to direct
              property:                                                   physical loss of or damage to your



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                records of accounts receivable (in-                     (g) Paragraph B.1.f. War and Military
                cluding those on electronic data                            Action;
                processing media) caused by or re-                      (h) Paragraph B.1.g. Water;
                sulting from a Covered Cause of
                                                                        (i) Paragraph B.1.h. Neglect; and
                Loss. Credit card company media will
                be considered accounts receivable                       (j) Paragraph B.2.g.
                until delivered to the credit card com-                 No other exclusions in Paragraph B.
                pany.                                                   Exclusions apply to this Coverage
           (2) W e will pay for:                                        Extension. However, if any exclu-
                                                                        sions are added by endorsement to
                (a) All amounts due from your cus-
                                                                        this Coverage Form, such exclusions
                    tomers that you are unable to col-
                                                                        will apply to this Coverage Extension.
                    lect;
                (b) Interest charges on any loan re-                (4) The most we will pay under this Cov-
                    quired to offset amounts you are                    erage Extension for loss of or dam-
                    unable to collect pending our                       age to records of accounts receivable
                    payment of these amounts;                           in any one occurrence while in transit
                                                                        or at a premises other than the de-
                (c) Collection expenses in excess of
                                                                        scribed premises is $25,000.
                    your normal collection expenses
                    that are made necessary by the                  (5) The most we will pay under this Cov-
                    loss or damage; and                                 erage Extension for loss of or dam-
                (d) Other reasonable expenses that                      age to records of accounts receivable
                    you incur to re-establish your re-                  in any one occurrence at each de-
                    cords of accounts receivable.                       scribed premises is $25,000 or the
                                                                        amount shown in the Declarations for
           (3) The following exclusions apply to this                   Accounts Receivable, whichever is
               Coverage Extension:                                      greater.
                (a) W e will not pay for loss caused
                                                                    (6) Payments made under this Coverage
                    by or resulting from bookkeeping,
                                                                        Extension are in addition to the appli-
                    accounting or billing errors or
                                                                        cable Limits of Insurance.
                    omissions;
                                                                 b. Appurtenant Buildings and Structures
                (b) W e will not pay for loss that re-
                    quires an audit of records or any               (1) W hen a Limit of Insurance is shown
                    inventory computation to prove its                  in the Declarations for Building at the
                    factual exi stence;                                 described premises, you may extend
                (c) W e will not pay for loss caused                    that insurance to apply to direct
                    by or resulting from alteration,                    physical loss of or damage to inciden-
                    falsification, concealment or de-                   tal appurtenant buildings or struc-
                    struction of records of accounts                    tures, within 1,000 feet of that de-
                    receivable done to conceal the                      scribed premises, caused by or re-
                    wrongful giving, taking or with-                    sulting from a Covered Cause of
                    holding of money, securities or                     Loss.
                    other property. But this exclusion              (2) W hen a Limit of Insurance is shown
                    applies only to the extent of the                   in the Declarations for Business Per-
                    wrongful giving, taking or with-
                                                                        sonal Property at the described prem-
                    holding;
                                                                        ises, you may extend that insurance
                (d) Paragraph B.1.b. Earth Move-                        to apply to direct physical loss of or
                    ment;                                               damage to Business Personal Prop-
                (e) Paragraph B.1.c. Governmental                       erty within incidental appurtenant
                    Action;                                             buildings or structures within 1,000
                (f) Paragraph B.1.d. Nuclear Haz-                       feet of that described premises,
                    ard;                                                caused by or resulting from a Cov-
                                                                        ered Cause of Loss.




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          (3) Incidental appurtenant buildings or                         by chemicals accidentally or mali-
              structures include:                                         ciously applied to glass.
                 (a) Storage buildings;                               (3) W e will also pay for necessary ex-
                 (b) Carports;                                            penses in connection with loss or
                                                                          damage covered in Paragraphs (1) or
                 (c) Garages;
                                                                          (2) above, incurred by you to:
                 (d) Pump houses; or
                                                                          (a) Put up temporary plates or board
                 (e) Above ground tanks;                                      up openings;
                 which have not been specifically de-                     (b) Repair or       replace   encasing
                 scribed in the Declarations.                                 frames; and
          (4) The most we will pay for loss or dam-                       (c) Remove or replace obstructions.
              age under this Coverage Extension in                    (4) The following exclusions apply to this
              any one occurrence for any combina-                         Coverage Extension:
              tion of loss of or damage to Building
              and Business Personal Property is                           (a) W e will not pay for loss or dam-
              $50,000, regardless of the number of                            age caused by or resulting from:
              described premises involved.                                    (i) W ear and tear;
          (5) Payments made under this Coverage                               (ii) Hidden or latent defect;
              Extension are in addition to the appli-                         (iii) Corrosion; or
              cable Limits of Insurance.                                      (iv) Rust;
       c. Building Glass                                                  (b) Paragraph B.1.b. Earth Move-
          (1) If:                                                             ment;
                 (a) You are the building owner; and                      (c) Paragraph B.1.c. Governmental
                 (b) A Limit of Insurance is shown in                         Action;
                     the Declarations for Building at                     (d) Paragraph B.1.d. Nuclear Haz-
                     the described premises;                                  ard;
                 you may extend that insurance to ap-                     (e) Paragraph B.1.f. War and Military
                 ply to direct physical loss of or dam-                       Action; and
                 age to all exterior and interior building                (f) Paragraph B.1.g. Water.
                 glass caused by or resulting from a
                 Cov ered Cause of Loss, including                        No other exclusions in Paragraph B.
                 glass breakage and damage to glass                       Exclusions apply to this Coverage
                 by chemicals accidentally or mali-                       Extension. However, if any exclu-
                 ciously applied to glass.                                sions are added by endorsement to
                                                                          this Coverage Form, such exclusions
          (2) If:                                                         will apply to this Coverage Extension.
                 (a) You are a tenant;                             d. Business Income and Extra Expense
                 (b) A Limit of Insurance is shown in                 From Dependent Property
                     the Declarations for Building or                 (1) W hen the Declarations show that you
                     Business Personal Property at                        have coverage for Business Income
                     the described premises; and                          and Extra Expense, you may extend
                 (c) You are contractually obligated to                   that insurance to apply to the actual
                     repair or replace building glass at                  loss of Business Income you sustain
                     the described premises;                              and reasonable and necessary Extra
                 you may extend that insurance to ap-                     Expense you incur due to the "sus-
                 ply to direct physical loss of or dam-                   pension" of your "operations" during
                 age to all exterior and interior building                the "period of restoration". The "sus-
                 glass caused by or resulting from a                      pension" must be caused by direct
                 Cov ered Cause of Loss, including                        physical loss or damage at the prem-
                 glass breakage and damage to glass                       ises of a Dependent Property, caused




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                by or resulting from a Cov ered Cause              (4) This Coverage Extension:
                of Loss.                                               (a) Applies to Dependent Property
           (2) Dependent Property means property                           premises located within the Cov-
               operated by others whom you de-                             erage Territory; and
               pend on to:                                             (b) Does not apply when you have
                (a) Deliver materials or services                          more specific insurance under
                    (other than "water supply ser-                         any other policy.
                    vices", "communication supply                  (5) W e will reduce the amount of your
                    services" or "power supply ser-                    Business Income loss, other than Ex-
                    vices") to you, or to others for                   tra Expense, to the extent you can
                    your account (Contributing Loca-                   resume "operations" in whole or in
                    tions);                                            part, by using any other available:
                (b) Accept your products or services                   (a) Source of materials; or
                    (Recipient Locations);
                                                                       (b) Outlet for your products.
                (c) Manufacture products for delivery
                    to your customers under contract               (6) The most we will pay for Business In-
                    of sale (Manufacturing Loca-                       come and Extra Expense under this
                    tions); or                                         Coverage Extension in any one oc-
                (d) Attract customers to your busi-                    currence is $10,000, regardless of
                    ness (Leader Locations).                           the number of described premises or
                                                                       number of Dependent Properties in-
           (3) W ith respect to this Coverage Exten-                   volved.
               sion, the "period of restoration":
                                                                   (7) Payments made under this Coverage
                (a) Begins 24 hours after the time of                  Extension are in addition to the appli-
                    direct physical loss or damage                     cable Limits of Insurance.
                    caused by or resulting from any
                    Covered Cause of Loss at the                e. Business Income and Extra Expense
                    premises of the Dependent Prop-                Newly Acquired Premises
                    erty;                                          (1) W hen the Declarations show that you
                (b) Ends on the date when the prop-                    have coverage for Business Income
                    erty at the premises of the De-                    and Extra Expense, you may extend
                    pendent Property should be re-                     that insurance to apply to the actual
                    paired, rebuilt or replaced with                   loss of Business Income you sustain
                    reasonable speed and similar                       and reasonable and necessary Extra
                    quality; and                                       Expense you incur due to the "sus-
                (c) Does not include any increased                     pension" of your "operations" during
                    period required due to the en-                     the "period of restoration". The "sus-
                    forcement of any ordinance or                      pension" must be caused by direct
                    law that:                                          physical loss or damage caused by or
                   (i) Regulates the construction,                     resulting from a Covered Cause of
                        use or repair, or requires the                 Loss at any premises you newly ac-
                        tearing down of any property;                  quire by purchase or lease (other
                        or                                             than at fairs, trade shows or exhibi-
                                                                       tions).
                   (ii) Requires any insured or oth-
                        ers to test for, monitor, clean            (2) The most we will pay under this Cov-
                        up, remove, contain, treat,                    erage Extension for the sum of Busi-
                        detoxify or neutralize, or in                  ness Income and Extra Expense you
                        any way respond to, or as-                     incur in any one occurrence is
                        sess the effects of "pollut-                   $250,000 at each newly acquired
                        ants".                                         premises.
                                                                   (3) Insurance under this Coverage Ex-
                                                                       tension for each newly acquired




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                 premises will end when any of the fol-                  (f) Otherwise covered under the
                 lowing first occurs:                                        Fine Arts Additional Coverage; or
                 (a) This policy expires;                                (g) Otherwise covered under the fol-
                 (b) 90 days expire after you acquire                        lowing Coverage Extensions:
                     that premises;                                          (i) Accounts Receivable;
                 (c) You report that premises to us; or                      (ii) Electronic Data Processing;
                 (d) The Business Income or Extra                            (iii) Personal Effects; or
                     Expense is more specifically in-                        (iv) Valuable Papers and Re-
                     sured.                                                       cords.
                 W e will charge you additional pre-              g. Civil Authority
                 mium for premises reported from the
                                                                     (1) W hen the Declarations show that you
                 date you acquire that premises.
                                                                         have coverage for Business Income
            (4) Payments made under this Coverage                        and Extra Expense, you may extend
                Extension are in addition to the appli-                  that insurance to apply to the actual
                cable Limits of Insurance.                               loss of Business Income you sustain
       f.   Business Personal Property Off Prem-                         and reasonable and necessary Extra
            ises                                                         Expense you incur caused by action
            (1) W hen a Limit of Insurance is shown                      of civil authority that prohibits access
                in the Declarations for Business Per-                    to the described premises. The civil
                sonal Property at the described prem-                    authority action must be due to direct
                ises, you may extend that insurance                      physical loss of or damage to prop-
                to apply to direct physical loss of or                   erty at locations, other than described
                damage to such property caused by                        premises, that are within 100 miles of
                or resulting from a Cov ered Cause of                    the described premises, caused by or
                Loss while:                                              resulting from a Covered Cause of
                                                                         Loss.
                 (a) In the course of transit to or from
                     the described premises; or                      (2) The coverage for Business Income
                                                                         will begin 24 hours after the time of
                 (b) Temporarily away from the de-                       that action and will apply for a period
                     scribed premises, and:
                                                                         of three consecutive weeks after cov-
                     (i) At a premises you do not                        erage begins.
                         own, lease or operate; or
                                                                     (3) The coverage for Extra Expense will
                     (ii) At any fair, trade show or ex-                 begin immediately after the time of
                          hibition at a premises you do                  that action and will end when your
                          not own or regularly occupy.                   Business Income coverage ends for
            (2) This Coverage Extension does not                         this Coverage Extension.
                apply to property:                                h. Electronic Data Processing
                 (a) W hile in the custody of the United             (1) W hen a Limit of Insurance is shown
                     States Postal Service;                              in the Declarations for Business Per-
                 (b) Rented or leased to others;                         sonal Property at the described prem-
                 (c) After delivery to customers;                        ises, you may extend that insurance
                                                                         to apply to direct physical loss of or
                 (d) In the care, custody or control of
                                                                         damage to "Electronic Data Process-
                     your salespersons, unless the
                                                                         ing Equipment" and to "Electronic
                     property is in such care, custody
                     or control at a fair, trade show or                 Data Processing Data and Media",
                     exhibition;                                         caused by or resulting from a Cov-
                                                                         ered Cause of Loss.
                 (e) Temporarily at a premises for
                     more than 60 consecutive days,                  (2) W orldwide coverage is provided un-
                     except "money" and "securities"                     der this Cov erage Extension. The
                     at a "banking premises";                            coverage territory as described in



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                Paragraph F.8.b. does not apply to                                   deficiency in design, installa-
                this Coverage Ex tension.                                            tion, maintenance, repair or
                                                                                     modification of your computer
           (3) This Coverage Extension does not
                                                                                     system or any computer sys-
               apply to:
                                                                                     tem or network to which your
                (a) "Stock"; or                                                      system is connected or on
                (b) Property that is leased or rented                                which your system depends
                    to others.                                                       (including electronic data) re-
                                                                                     sults in a "specified cause of
           (4) The following exclusions as de-                                       loss" or mechanical break-
               scribed in Paragraph B. Exclusions                                    down of "Electronic Data
               do not apply to this Coverage Exten-                                  Processing Equipment", we
               sion:                                                                 will pay for the loss or dam-
                (a) Paragraph 1.e. Utility Services;                                 age caused by that "specified
                (b) Paragraph 2.a.; or                                               cause of loss" or mechanical
                                                                                     breakdown of "Electronic
                (c) Paragraph 2.d.(6).                                               Data Processing Equipment";
           (5) The following additional exclusions                             (iv) Unexplained or indetermin-
               apply to this Coverage Extension:                                    able failure, malfunction or
                (a) W e will not pay for loss or dam-                               slowdown of a computer sys-
                    age caused by or resulting from                                 tem, including "Electronic
                    any of the following:                                           Data Processing Data and
                                                                                    Media" or the inability to ac-
                    (i) Programming errors, omis-
                                                                                    cess or properly manipulate
                        sions or incorrect instructions                             "Electronic Data Processing
                        to a machine. But if pro-                                   Data and Media"; or
                        gramming errors, omissions
                        or incorrect instructions to a                         (v) "Electronic Vandalism" ex-
                        machine results in a "speci-                               cept as provided in Para-
                        fied cause of loss" or me-                                 graph (9) below.
                        chanical breakdown of "Elec-                   (6) The most we will pay under this Cov-
                        tronic    Data      Processing                     erage Extension for loss of or dam-
                        Equipment", we will pay for                        age to "Electronic Data Processing
                        the loss or damage caused                          Equipment" and to "Electronic Data
                        by that "specified cause of                        Processing Data and Media", while in
                        loss" or mechanical break-                         transit or at a premises other than the
                        down of "Electronic Data                           described premises, in any one oc-
                        Processing Equipment";
                                                                           currence, is $25,000.
                    (ii) Unauthorized viewing, copy-
                                                                       (7) The most we will pay under this Cov-
                         ing or use of "Electronic Data
                                                                           erage Extension for loss of or dam-
                         Processing Data and Media"
                         (or any proprietary or confi-                     age to duplicates of your "Electronic
                         dential information or intellec-                  Data Processing Data and Media"
                         tual property) by any person,                     while stored at a separate premises
                         even if such activity is char-                    from where your original "Electronic
                         acterized as "theft";                             Data Processing Data and Media" are
                                                                           kept, in any one occurrence, is
                    (iii) Errors or deficiency in design,
                                                                           $25,000.
                          installation, maintenance, re-
                          pair or modification of your                 (8) The most we will pay under this Cov-
                          computer systems or any                          erage Extension for loss or damage
                          computer system or network                       to "Electronic Data Processing Equip-
                          to which your system is con-                     ment", including such property you
                          nected or on which your sys-                     newly acquire in any one occurrence
                          tem depends (including elec-                     is $25,000 at each newly acquired
                          tronic data). But if errors or                   premises. W ith respect to insurance



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                 under this Coverage Extension on                        time and are the result of the same
                 newly acquired "Electronic Data                         cause will also be considered one
                 Processing Equipment", coverage will                    "breakdown".
                 end when any of the following first                 (2) Under this Cov erage Extension, the
                 occurs:                                                 following coverages also apply:
                 (a) This policy expires;                                (a) Expediting Expenses
                 (b) 180 days expire after you acquire                       (i) In the event of direct physical
                     the "Electronic Data Processing                             loss of or damage to Covered
                     Equipment"; or                                              Property caused by or result-
                 (c) You report values to us.                                    ing from a "breakdown" to
            (9) The most we will pay under this Cov-                             "covered equipment", we will
                                                                                 pay for the reasonable addi-
                erage Extension for loss of or dam-
                                                                                 tional expenses you neces-
                age to "Electronic Data Processing
                                                                                 sarily incur to make tempo-
                Data and Media" caused by or result-
                                                                                 rary repairs to, or expedite
                ing from "electronic vandalism", in
                                                                                 the permanent repair or re-
                any one occurrence is $25,000, re-                               placement of, the lost or
                gardless of the number of the number                             damaged Covered Property.
                of premises involved. Such limit also
                applies to any otherwise covered loss                        (ii) Expediting expenses include
                                                                                  overtime wages and the extra
                of Business Income or Extra Ex-
                                                                                  cost of express or other rapid
                pense.
                                                                                  means of transportation.
            (10) The most we will pay under this Cov-
                                                                             (iii) The most we will pay under
                 erage Extension for loss of or dam-
                                                                                   this Coverage Extension for
                 age to "Electronic Data Processing                                all Expediting Expenses aris-
                 Equipment" and to "Electronic Data                                ing out of any one "break-
                 Processing Data and Media", at the                                down" is $25,000. This limit is
                 described premises, in any one oc-                                part of and not in addition to
                 currence, is the Limit of Insurance                               the Limit of Insurance that
                 shown in the Declarations for Busi-                               applies to lost or damaged
                 ness Personal Property at such                                    Covered Property.
                 premises or $50,000, whichever is                       (b) "Pollutants"
                 less.
                                                                             (i) In the event of direct physical
       i.   Equipment Breakdown                                                  loss of or damage to Covered
            (1) W hen a Limit of Insurance is shown                              Property caused by or result-
                in the Declarations for Building or                              ing from a "breakdown" to
                Business Personal Property at the                                "covered equipment", we will
                described premises, you may extend                               pay for the additional cost to
                that insurance to apply to direct                                repair or replace Covered
                physical loss of or damage to Cov-                               Property because of con-
                ered Property at the described prem-                             tamination by "pollutants".
                ises caused by or resulting from a                               This includes the additional
                "breakdown" to "covered equipment".                              expenses to clean up or dis-
                                                                                 pose of such property. Addi-
                 W ith respect to otherwise covered                              tional costs mean those be-
                 Business Income and Extra Expense,                              yond what would have been
                 "breakdown" to "covered equipment"                              required had no "pollutants"
                 will be considered a Covered Cause                              been involved.
                 of Loss.                                                    (ii) The most we will pay under
                 If an initial "breakdown" causes other                           this Coverage Extension for
                 "breakdowns", all will be considered                             loss or damage to Covered
                 one "breakdown". All "breakdowns"                                Property caused by contami-
                 that manifest themselves at the same                             nation by "pollutants" arising



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                        out of any one "breakdown"                         (c) Paragraph 2.e.
                        is $25,000. This limit is sub-                 (7) W ith respect to this Coverage Exten-
                        ject to and not in addition to                     sion, the following condition is added
                        the Limit of Insurance that
                                                                           to Paragraph F. Commercial Property
                        applies to lost or damaged
                                                                           Conditions:
                        Covered Property.
                                                                           Suspension
                (c) Service Interruption
                    W hen the Declarations show that                       If any "covered equipment" is found
                    you have coverage for Business                         to be in, or exposed to a dangerous
                    Income and Extra Expense, you                          condition, any of our representatives
                    may extend that insurance to ap-                       may immediately suspend the insur-
                    ply to loss caused by or resulting                     ance provided by this Coverage Form
                    from a "breakdown" to equipment                        for loss or damage caused by or re-
                    that is owned, operated or con-                        sulting from a "breakdown" to that
                    trolled by a local public or private                   "covered equipment". This can be
                    utility or distributor that directly                   done by delivering or mailing a notice
                    generates, transmits, distributes                      of suspension to:
                    or provides the following utility                      1. Your last known address; or
                    services:
                                                                           2. The address where the "covered
                    (i) "W ater Supply Services";                             equipment" is located.
                    (ii) "Communication Supply Ser-                        Once suspended in this way, such in-
                          vices"; or                                       surance can only be reinstated by a
                    (iii) "Power Supply Services".                         written endorsement issued by us. If
           (3) W e will not pay under this Coverage                        we suspend your insurance, you will
               Extension for loss or damage caused                         get a pro rata refund of premium for
               by or resulting from any of the follow-                     that "covered equipment". But the
               ing tests:                                                  suspension will be effective even if
                                                                           we have not yet made or offered a re-
                (a) A hydrostatic, pneumatic or gas
                                                                           fund.
                    pressure test of any boiler or
                    pressure vessel; or                                (8) The most we will pay under this Cov-
                (b) An insulation breakdown test of                        erage Extension for all direct physical
                    any type of electrical equipment.                      loss of or damage to:

           (4) W e will not pay under this Coverage                        (a) "Diagnostic Equipment";
               Extension for loss or damage caused                         (b) "Power Generating Equipment";
               by or resulting from a change in:                               or
                (a) Temperature; or                                        (c) "Production Equipment";
                (b) Humidity;                                              caused by or resulting from a "break-
                as a consequence of "breakdown" to                         down" to "covered equipment" in any
                "covered equipment".                                       one occurrence is $100,000.
                                                                  j.   Interruption of Computer Operations
           (5) The following limitations in Paragraph
               A.5. do not apply to this Coverage                      (1) W hen the Declarations show that you
               Extension:                                                  have coverage for Business Income
                (a) Paragraph a.(2); and                                   and Extra Expense, you may extend
                                                                           that insurance to apply to a "suspen-
                (b) Paragraph a.(3).                                       sion" of "operations" caused by an in-
           (6) The following exclusions in Para-                           terruption of computer operations due
               graph B. Exclusions do not apply to                         to direct physical loss of or damage
               this Coverage Extension:                                    to "Electronic Data Processing Data
                (a) Paragraph 2.a.;                                        and Media" at the described premises
                                                                           caused by or resulting from a Cov-
                (b) Paragraph 2.d.(6); and                                 ered Cause of Loss.



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            (2) The most we will pay under this Cov-                         or not the motor vehicle or motor-
                erage Extension is $25,000 for the                           ized conveyance is in motion; or
                sum of all covered interruptions aris-                   (b) During hitching or unhitching op-
                ing out of all Covered Causes of Loss                        erations, or when a trailer or
                occurring during each separate 12                            semi-trailer becomes accidentally
                month period of this policy beginning                        unhitched from a motor vehicle or
                with the effective date of this policy.                      motorized conveyance.
            (3) Payments made under this Coverage                    (3) The most we will pay for loss or dam-
                Extension are in addition to the appli-                  age under this Coverage Extension in
                cable Limits of Insurance.                               any one occurrence is $5,000 regard-
       k. Money Orders and Counterfeit Paper                             less of the number of described
          Currency                                                       premises, trailers or semi-trailers in-
                                                                         volved.
            W hen a Limit of Insurance is shown in the
            Declarations for Business Personal Prop-                 (4) This insurance is excess over the
            erty at the described premises, you may                      amount due (whether you can collect
            extend that insurance to apply to loss due                   on it or not) from any other insurance
            to the good faith acceptance of:                             covering such property.
            (1) Any U.S. or Canadian post office or               m. Ordinance or Law       Increased Period
                express money order, issued or pur-                  of Restoration
                porting to have been issued by any                   (1) W hen:
                post office or express company, if the
                                                                         (a) A Covered Cause of Loss occurs
                money order is not paid upon presen-
                                                                             to property at the described
                tation; or
                                                                             premises; and
            (2) Counterfeit United States or Cana-                       (b) The Declarations show that you
                dian paper currency;                                         have coverage for Business In-
            in exchange for merchandise, "money" or                          come and Extra Expense;
            services or as part of a normal business
                                                                         you may extend that insurance to ap-
            transaction.
                                                                         ply to the amount of actual loss of
       l.   Non-Owned Detached Trailers                                  Business Income you sustain and
            (1) W hen a Limit of Insurance is shown                      reasonable and necessary Extra Ex-
                in the Declarations for Business Per-                    pense you incur during the increased
                sonal Property at the described prem-                    period of "suspension" of "operations"
                ises, you may extend that insurance                      caused by or resulting from the en-
                to apply to direct physical loss of or                   forcement of any ordinance or law
                damage to trailers or semi-trailers                      that:
                that you do not own, provided that:                      (a) Regulates the construction, repair
                 (a) The trailer or semi-trailer is used                     or replacement of any property;
                     in your business;                                   (b) Requires the tearing down or re-
                 (b) The trailer or semi-trailer is in                       placement of any parts of prop-
                     your care, custody or control at                        erty not damaged by a Covered
                     the described premises; and                             Cause of Loss; and
                 (c) You have a contractual responsi-                    (c) Is in force at the time of loss.
                     bility to pay for loss of or damage             (2) This Coverage Extension applies only
                     to the trailer or semi-trailer.                     to the period that would be required,
            (2) W e will not pay for loss or damage                      with reasonable speed, to recon-
                that occurs:                                             struct, repair or replace the property
                 (a) W hile the trailer or semi-trailer is               to comply with the minimum require-
                     attached to any motor vehicle or                    ments of the ordinance or law.
                     motorized conveyance, whether                   (3) This Coverage Extension does not
                                                                         apply to:



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                (a) Loss due to an ordinance or law                      to apply to direct physical loss of or
                    that:                                                damage to personal effects owned
                    (i) You were required to comply                      by:
                        with before the loss, even if                    (a) You; or
                        the property was undam-
                                                                         (b) Your officers, partners, "mem-
                        aged; and
                                                                             bers", "managers", "employees",
                    (ii) You failed to comply with; or                       directors or trustees;
                (b) Costs associated with the en-                        caused by or resulting from a Cov-
                    forcement of any ordinance or                        ered Cause of Loss.
                    law that requires any insured or
                    others to test for, monitor, clean              (2) Such property must be located at a
                    up, remove, contain, treat, detox-                  described premises.
                    ify or neutralize, or in any way re-            (3) The most we will pay for loss or dam-
                    spond to, or assess the effects of                  age under this Coverage Extension in
                    "pollutants".                                       any one occurrence is $25,000 at
           (4) Paragraph B.1.a., does not apply to                      each described premises.
               this Coverage Ex tension.                            (4) Payments under this Coverage Ex-
           (5) The most we will pay for loss under                      tension are in addition to the applica-
               this Coverage Extension in any one                       ble Limits of Insurance.
               occurrence is $25,000 at each de-                 p. Signs
               scribed premises.                                    (1) If :
           (6) Payments made under this Coverage                         (a) You are the building owner; and
               Extension are in addition to the appli-
               cable Limits of Insurance.                                (b) A Limit of Insurance is shown in
                                                                             the Declarations for Building;
       n. Outdoor Property
                                                                         at the described premises, you may
           (1) W hen a Limit of Insurance is shown                       extend that insurance to apply to di-
               in the Declarations for Building or                       rect physical loss of or damage to
               Business Personal Property at the                         outdoor signs attached to the build-
               described premises, you may extend                        ing, or on or within 1,000 feet of the
               that insurance to apply to direct                         described premises, caused by or re-
               physical loss of or damage to the fol-                    sulting from a Cov ered Cause of
               lowing types of outdoor property at                       Loss.
               that described premises caused by or
               resulting from a Covered Cause of                    (2) If:
               Loss:                                                     (a) You are a tenant;
                (a) Radio or television antennas (in-                    (b) A Limit of Insurance is shown in
                    cluding microwave or satellite                           the Declarations for Business
                    dishes) and their lead-in wiring,                        Personal Property; and
                    masts or towers; or                                  (c) You own or are contractually ob-
                (b) Bridges, walks, roadways, patios                         ligated to repair or replace out-
                    and other paved surfaces.                                door signs;
           (2) The most we will pay for loss or dam-                     at the described premises, you may
               age under this Coverage Extension in                      extend that insurance to apply to di-
               any one occurrence is $10,000 at                          rect physical loss of or damage to
               each described premises.                                  outdoor signs attached to the build-
       o. Personal Effects                                               ing, or on or within 1,000 feet of the
                                                                         described premises, caused by or re-
           (1) W hen a Limit of Insurance is shown                       sulting from a Covered Cause of
               in the Declarations for Business Per-                     Loss.
               sonal Property at the described prem-
               ises, you may extend that insurance




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       q. Spoilage       Consequential Loss                                   service of such non-owned build-
            (1) W hen a Limit of Insurance is shown                           ing.
                in the Declarations for Business Per-                 (2) W e will not pay under this Coverage
                sonal Property at the described prem-                     Extension for loss or damage:
                ises, you may extend that insurance                       (a) Caused by or resulting from fire
                to apply to consequential loss to your                        or explosion; or
                Business Personal Property caused
                                                                          (b) To glass (other than glass build-
                by a change in:
                                                                              ing blocks) or to any lettering, or-
                 (a) Temperature; or                                          namentation or burglar alarm
                 (b) Humidity;                                                tape on glass.
                 caused by or resulting from a Cov-                   (3) This Coverage Extension applies only
                 ered Cause of Loss to any of the fol-                    if you are a tenant and you are con-
                 lowing types of equipment situated                       tractually obligated to insure this ex-
                 within the building at the described                     posure.
                 premises:                                         s. Valuable Papers and Records
                 (a) Refrigerating;                                   (1) W hen a Limit of Insurance is shown
                 (b) Cooling;                                             in the Declarations for Business Per-
                                                                          sonal Property at the described prem-
                 (c) Humidifying;
                                                                          ises, you may extend that insurance
                 (d) Air-conditioning;                                    to apply to direct physical loss of or
                 (e) Heating;                                             damage to "valuable papers and re-
                 (f) Generating or converting power;                      cords", that:
                     or                                                   (a) You own; or
                 (g) Connections, supply or transmis-                     (b) Are owned by others, but in your
                     sion lines and pipes associated                          care, custody or control;
                     with the above equipment.                            caused by or resulting from a Cov-
            (2) W ith respect to this Coverage Exten-                     ered Cause of Loss.
                sion, "breakdown" to "covered equip-                  (2) This Coverage Extension includes
                ment" will not be considered a Cov-                       the cost to research, replace or re-
                ered Cause of Loss, even if otherwise                     store the lost information on "valuable
                covered elsewhere in this Coverage                        papers and records" for which dupli-
                Form.                                                     cates do not exist.
            (3) Paragraphs       B.2.d.(7)(a)      and                (3) The following exclusions apply to this
                B.2.d.(7)(b) do not apply to this Cov-                    Coverage Extension:
                erage Extension.
                                                                          (a) W e will not pay for any loss or
       r.   Theft Damage to Rented Property                                   damage to "valuable papers and
            (1) W hen a Limit of Insurance is shown                           records" caused by or resulting
                in the Declarations for Business Per-                         from any errors or omissions in
                sonal Property at the described prem-                         processing or copying. But if er-
                ises, you may extend that insurance                           rors or omissions in processing or
                to apply to direct physical loss of or                        copying results in fire or explo-
                damage to the following caused by or                          sion, we will pay for the resulting
                resulting by "theft" or attempted                             loss or damage caused by that
                "theft":                                                      fire or explosion.
                 (a) That part of a building you oc-                      (b) Paragraph B.1.b. Earth Move-
                     cupy, but do not own, which con-                         ment;
                     tains Covered Property; and                          (c) Paragraph B.1.c. Governmental
                 (b) Property within such non-owned                           Action;
                     building used for maintenance or                     (d) Paragraph B.1.d. Nuclear Haz-
                                                                              ard;



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                (e) Paragraph B.1.f. War and Military                  (a) An ordinance or law that is en-
                    Action;                                                forced even if the property has
                (f) Paragraph B.1.g. Water;                                not been damaged; or
                (g) Paragraph B.1.h. Neglect; and                      (b) The increased costs incurred to
                                                                           comply with an ordinance or law
                (h) Paragraph B.2.g.                                       in the course of construction, re-
                No other exclusions in Paragraph B.                        pair, renovation, remodeling or
                Exclusions apply to this Coverage                          demolition of property, or removal
                Extension. However, if any exclu-                          of its debris, following a physical
                sions are added by endorsement to                          loss to that property.
                this Coverage Form, such exclusions             b. Earth Movement
                will apply to this Coverage Extension.
                                                                   (1) Earthquake, including any earth sink-
           (4) The most we will pay under this Cov-                    ing, rising or shifting related to such
               erage Extension for loss of or dam-                     ev ent;
               age to "valuable papers and records"                (2) Landslide, including any earth sink-
               in any one occurrence while in transit                  ing, rising or shifting related to such
               or at a premises other than the de-                     event;
               scribed premises is $25,000.
                                                                   (3) Mine subsidence, meaning subsi-
           (5) The most we will pay under this Cov-                    dence of a man-made mine, whether
               erage Extension for loss of or dam-                     or not mining activity has ceased; or
               age to "valuable papers and records"
               in any one occurrence at each de-                   (4) Earth sinking (other than sinkhole col-
               scribed premises is $25,000 or the                      lapse), rising or shifting including soil
               amount shown in the Declarations for                    conditions which cause settling,
               Valuable Papers and Records,                            cracking or other disarrangement of
               whichever is greater.                                   foundations or other parts of realty.
                                                                       Soil conditions include contraction,
           (6) Payments made under this Coverage                       expansion, freezing, thawing, ero-
               Extension are in addition to the appli-                 sion, improperly compacted soil and
               cable Limits of Insurance.
                                                                       the action of water under the ground
B. EXCLUSIONS                                                          surface;
   1. W e will not pay for loss or damage caused di-               all whether naturally occurring or due to
      rectly or indirectly by any of the following.                man made or other artificial causes.
      Such loss or damage is excluded regardless                   But if Earth Movement, as described in
      of any other cause or event that contributes                 Paragraphs (1) through (4) above results
      concurrently or in any sequence to the loss.
                                                                   in fire or explosion, we will pay for the
      These exclusions apply whether or not the                    loss or damage caused by that fire or ex-
      loss event results in widespread damage or                   plosion.
      affects a substantial area.
                                                                   (5) Volcanic eruption, explosion or effu-
       a. Ordinance or Law
                                                                       sion. But if volcanic eruption, explo-
           (1) The enforcement of any ordinance or                     sion or effusion results in fire or vol-
               law:                                                    canic action, we will pay for the loss
                (a) Regulating the construction, use                   or damage caused by that fire or vol-
                    or repair of any property; or                      canic action.
                (b) Requiring the tearing down of any                  Volcanic action means direct loss or
                    property, including the cost of                    damage resulting from the eruption of
                    removing its debris.                               a volcano, when the loss or damage
           (2) This exclusion, Ordinance or Law,                       is caused by:
               applies whether the loss results from:                  (a) Airborne volcanic blast or air-
                                                                           borne shock waves;




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                 (b) Ash, dust, or particulate matter;                       governmental authority in hindering
                     or                                                      or defending against any of these.
                 (c) Lava flow.                                     g. Water
                 All volcanic eruptions that occur                       (1) Flood, surface water, waves, tides,
                 within any 168 hour period will con-                        tidal waves, overflow of any body of
                 stitute a single occurrence.                                water, or their spray, all whether
                 Volcanic action does not include the                        driven by wind or not;
                 cost to remove ash, dust or particu-                    (2) Mudslide or mudflow;
                 late matter that does not cause direct
                                                                         (3) W ater or sewage that backs up or
                 physical loss of or damage to Cov-
                                                                             overflows from a sewer, drain or
                 ered Property.                                              sump; or
       c. Governmental Action
                                                                         (4) W ater under the ground surface
            Seizure or destruction of property by or-                        pressing on, or flowing or seeping
            der of governmental authority.                                   through:
            But we will pay for loss or damage                               (a) Foundations, walls, floors or
            caused by or resulting from acts of de-                              paved surfaces;
            struction ordered by governmental au-
                                                                             (b) Basements, whether paved or
            thority and done at the time of a fire to
            prevent its spread, if the fire would be                             not; or
            covered under this policy.                                       (c) Doors, windows or other open-
       d. Nuclear Hazard                                                         ings;
                                                                         all whether naturally occurring or due to
            Nuclear reaction or radiation, or radioac-
                                                                         man made or other artificial causes.
            tive contamination, however caused.
                                                                       But if Water, as described in Paragraphs
            But if nuclear reaction or radiation, or ra-
                                                                       (1) through (4) above results in fire, ex-
            dioactive contamination results in fire, we
            will pay for the loss or damage caused by                  plosion or sprinkler leakage, we will pay
            that fire.                                                 for the loss or damage caused by that
                                                                       fire, explosion or sprinkler leakage.
       e. Utility Services
                                                                    h. Neglect
            The failure or fluctuation of power or other
            utility service supplied to the described                    Neglect of an insured to use reasonable
            premises, however caused, if the cause                       means to save and preserve property
            of the failure or fluctuation occurs away                    from further damage at and after the time
                                                                         of loss.
            from the described premises.
                                                                    i.   Collapse of Buildings
            But if the failure or fluctuation of power or
            other utility service results in a Covered                   Collapse of buildings meaning an abrupt
            Cause of Loss, we will pay for the loss or                   falling down or caving in of a building or
            damage resulting from that Covered                           any part of a building with the result being
            Cause of Loss.                                               that the building or part of a building can-
       f.   War and Military Action                                      not be occupied for its intended purpose.
                                                                         (1) This exclusion does not apply to col-
            (1) W ar, including undeclared or civil
                war;                                                         lapse of buildings if caused only by
                                                                             one or more of the following:
            (2) W arlike action by a military force, in-
                                                                             (a) A "specified cause of loss" or
                cluding action in hindering or defend-
                                                                                 breakage of building glass;
                ing against an actual or expected at-
                tack, by any government, sovereign                           (b) Decay, insect or vermin damage
                or other authority using military per-                           that is hidden from view, unless
                sonnel or other agents; or                                       the presence of such decay or in-
                                                                                 sect or vermin damage is known
            (3) Insurrection, rebellion, revolution,                             to an insured prior to collapse;
                usurped power or action taken by




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                (c) W eight of people or personal                        is not considered to have collapsed
                    property;                                            but is considered to be in a state of
                (d) W eight of rain that collects on a                   imminent collapse.
                    roof; or                                         (4) W ith respect to buildings in a state of
                (e) Use of defective material or                         imminent collapse, we will not pay for
                    methods in construction, remod-                      loss or damage unless the state of
                    eling or renovation if the collapse                  imminent collapse first manifests it-
                    occurs during the course of con-                     self during the policy period and is
                    struction, remodeling or renova-                     caused only by one or more of the
                    tion; or                                             following which occurs during the pol-
                (f) Use of defective material or                         icy period:
                    methods in construction, remod-                      (a) A "specified cause of loss" or
                    eling or renovation if the collapse                      breakage of glass;
                    occurs after construction, remod-
                                                                         (b) W eight of people or personal
                    eling, or renovation is complete
                                                                             property;
                    and is caused in part by a cause
                    of loss listed in Paragraphs (a)                     (c) W eight of rain that collects on a
                    through (d) above.                                       roof; or
                In the event collapse results in a                       (d) Use of defective material or
                Covered Cause of Loss, we will only                          methods in construction, remod-
                pay for the resulting loss or damage                         eling or renovation if the state of
                by that Covered Cause of Loss.                               imminent collapse occurs during
                                                                             the course of construction, re-
           (2) W e will not pay for loss of or damage                        modeling or renovation.
               to the following types of property, if
                                                             2. W e will not pay for loss or damage caused by
               otherwise covered in this Coverage
                                                                or resulting from any of the following:
               Form under Paragraphs (1)(b)
               through (1)(f) above, unless the loss            a. Artificially generated electrical current, in-
               or damage is a direct result of the col-              cluding electric arcing that disturbs elec-
               lapse of a building:                                  trical devices, appliances or wires unless
                                                                     caused by a "specified cause of loss".
                (a) Awnings,    gutters   and    down-
                    spouts;                                         But if artificially generated electrical cur-
                                                                    rent results in fire, we will pay for the loss
                (b) Outdoor radio or television an-                 or damage caused by that fire.
                    tennas (including microwave or
                    satellite dishes) and their lead-in          b. Delay, loss of use or loss of market.
                    wiring, masts or towers;                     c. Smoke, vapor or gas from agricultural
                (c) Fences;                                         smudging or industrial operations.
                (d) Piers, wharves and docks;                    d. (1) W ear and tear;
                (e) Beach or diving platforms or ap-                 (2) Rust, corrosion, fungus, decay, dete-
                    purtenances;                                         rioration, wet or dry rot, mold, hidden
                                                                         or latent defect or any quality in prop-
                (f) Retaining walls;
                                                                         erty that causes it to damage or de-
                (g) W alks, roadway and other paved                      stroy itself;
                    surfaces;
                                                                     (3) Smog;
                (h) Yard fixtures; or
                                                                     (4) Settling, cracking, shrinking or ex-
                (i) Outdoor swimming pools.                              pansion;
           (3) A building or part of a building that:                (5) Nesting or infestation, or discharge or
                (a) Is in imminent danger of abruptly                    release of waste products or secre-
                    falling down or caving in; or                        tions, by insects, birds, rodents or
                (b) Suffers a substantial impairment                     other animals;
                    of structural integrity;




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            (6) Mechanical breakdown, including                       tems) caused by or resulting from freez-
                rupture or bursting caused by cen-                    ing, unless:
                trifugal force. But if mechanical                     (1) You do your best to maintain heat in
                breakdown results in elevator colli-                      the building or structure; or
                sion, we will pay for the loss or dam-
                age caused by that elevator collision;                (2) You drain the equipment and shut off
                                                                          the water supply if the heat is not
            (7) The following causes of loss to per-                      maintained.
                sonal property:
                                                                 h. Dishonest or criminal acts by you, or any
                 (a) Dampness or dryness of atmos-                  of your partners, "members", officers,
                     phere;                                         "managers",     "employees"     (including
                 (b) Changes in or extremes of tem-                 leased employees), directors, trustees,
                     perature;                                      authorized representatives or anyone to
                                                                    whom you entrust the property for any
                 (c) Marring or scratching;
                                                                    purpose:
                 (d) Changes in flavor, color, texture
                     or finish;                                       (1) Acting alone or in collusion with oth-
                                                                          ers; or
                 (e) Evaporation or leakage; or
                                                                      (2) W hether or not occurring during the
            (8) Contamination by other than "pollut-                      hours of employment.
                ants".
                                                                      This exclusion does not apply to acts of
          But if an excluded cause of loss that is                    destruction by your "employees" (includ-
          listed in Paragraphs (1) through (8) above                  ing leased employees), but "theft" by "em-
          results in a "specified cause of loss",                     ployees" (including leased employees) is
          building glass breakage or "breakdown"                      not covered.
          to "covered equipment" (only if otherwise
          a Covered Cause of Loss), we will pay for              i.   Voluntary parting with any property by
          the loss or damage caused by that                           you or anyone else to whom you have en-
          "specified cause of loss", building glass                   trusted the property.
          breakage or "breakdown" to "covered                    j    Rain, snow, sand, dust, ice or sleet to
          equipment" (only if otherwise a Cov ered                    personal property in the open.
          Cause of Loss).                                        k. Discharge, dispersal, seepage, migration,
       e. Explosion of steam boilers, steam pipes,                  release or escape of "pollutants" unless
          steam engines or steam turbines owned                     the discharge, dispersal, seepage, migra-
          or leased by you, or operated under your                  tion, release or escape is itself caused by
          control. But if explosion of steam boilers,               any of the "specified causes of loss". But
          steam pipes, steam engines or steam                       if the discharge, dispersal, seepage, mi-
          turbines results in fire or combustion ex-                gration, release or escape of "pollutants"
          plosion, we will pay for the loss or dam-                 results in a "specified cause of loss", we
          age caused by that fire or combustion ex-                 will pay for the loss or damage caused by
          plosion. W e will also pay for loss or dam-               that "specified cause of loss".
          age caused by or resulting from the ex-                   This exclusion, k. does not apply to dam-
          plosion of gases or fuel within the furnace               age to glass caused by chemicals applied
          of any fired vessel or within the flues or                to the glass.
          passages through which the gases of
          combustion pass.                                       l.   Default on any credit sale, loan, or similar
                                                                      transaction.
       f. Continuous or repeated seepage or leak-
          age of water, or the presence or conden-               m. Property that is missing, where the only
          sation of humidity, moisture or vapor, that               evidence of the loss or damage is a short-
          occurs over a period of 14 days or more.                  age disclosed on taking inventory, or
                                                                    other instances where there is no physi-
       g. W ater, other liquids, powder or molten                   cal evidence to show what happened to
          material that leaks or flows from plumb-                  the property. This exclusion does not ap-
          ing, heating, air conditioning or other                   ply to "money" and "securities".
          equipment (except fire protection sys-




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       n. Loss of property or that part of any loss,                (1) Any cost of correcting or making
          the proof of which as to its existence or                     good the fault, inadequacy or defect
          amount is dependent on:                                       itself, including any cost incurred to
           (1) Any inventory computation; or                            tear down, tear out, repair or replace
                                                                        any part of any property to correct the
           (2) A profit and loss computation.
                                                                        fault, inadequacy or defect; or
       o. The transfer of property to a person or to
                                                                    (2) Any resulting loss or damage by a
          a place outside the described premises
          on the basis of unauthorized instructions.                    Covered Cause of Loss to the prop-
                                                                        erty that has the fault, inadequacy or
       p. Loss of "money" or "securities" caused by                     defect until the fault, inadequacy or
          or resulting from accounting or arithmetic                    defect is corrected.
          errors or omissions.
                                                             4. Business Income and Extra Expense Ex-
       q. The cost of correcting or making good the             clusions
          damage to personal property attributable
          to such property being processed, manu-               W e will not pay for:
          factured, tested, repaired, restored, re-             a. Any Extra Expense, or increase of Busi-
          touched or otherwise being worked upon.                  ness Income loss, caused by or resulting
   3. W e will not pay for loss or damage caused by                from:
      or resulting from any of the following under                  (1) Delay in rebuilding, repairing or re-
      Paragraphs a. through c. But if an excluded                       placing the property or resuming "op-
      cause of loss that is listed in Paragraphs a.                     erations", due to interference by
      and b. below results in a Covered Cause of                        strikers or other persons at the loca-
      Loss, we will pay for the resulting loss or                       tion of the rebuilding, repair or re-
      damage caused by that Covered Cause of                            placement; or
      Loss.
                                                                    (2) Suspension, lapse or cancellation of
       a. W eather conditions, but this exclusion                       any license, lease or contract. But if
          only applies if weather conditions contrib-                   the suspension, lapse or cancellation
          ute in any way with a cause or event ex-
                                                                        is directly caused by the "suspension"
          cluded in Paragraph B.1. above to pro-
                                                                        of "operations", we will cover such
          duce the loss or damage.
                                                                        loss that affects your Business In-
       b. Acts or decisions, including the failure to                   come during the "period of restora-
          act or decide, of any person, group, or-                      tion" and the period of Extended
          ganization or governmental body.                              Business Income; or
       c. Faulty, inadequate or defectiv e:                     b. Any other consequential loss.
           (1) Planning, zoning, dev elopment, sur-       C. LIMITS OF INSURANCE
               veying, siting;
                                                             1. The most we will pay for loss or damage in
           (2) Design, specifications, workmanship,             any one occurrence is the applicable Limit of
               repair, construction, renov ation, re-           Insurance shown in the Declarations, Sched-
               modeling, grading, compaction;                   ules, Coverage Forms, or endorsements.
           (3) Materials used in repair, construction,       2. Inflation Guard
               renovation or remodeling; or                     a. W hen a percentage for Inflation Guard is
           (4) Maintenance;                                        shown in the Declarations, the Limit of In-
           of part or all of any property on or off the            surance for property to which this cover-
           described premises.                                     age applies will automatically increase by
                                                                   that annual percentage.
           If an excluded cause of loss that is listed
           in Paragraphs (1) through (4) above re-              b. The amount of increase will be:
           sults in a Covered Cause of Loss, we will                (1) The Limit of Insurance that applied on
           pay for the resulting loss or damage                         the most recent of the policy incep-
           caused by that Covered Cause of Loss.                        tion date, the policy anniv ersary date,
           But we will not pay for:                                     or any other policy change amending
                                                                        the Limit of Insurance, multiplied by



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           (2) The percentage of annual increase                in any one occurrence is the Building Glass
               shown in the Declarations, expressed             Deductible shown in the Declarations.
               as a decimal (example: 8% is .08),           3. The Businessowners Property Coverage De-
               multiplied by                                   ductible does not apply to any of the follow-
           (3) The number of days since the begin-             ing:
               ning of the current policy year or the           a. Fire Department Service Charge;
               effective date of the most recent pol-           b. Business Income and Extra Expense;
               icy change amending the Limit of In-
               surance, divided by 365.                         c. Arson and Theft Reward; and
           Example:                                             d. Accounts Receivable.
           If:                                              4. If more than one deductible applies to loss or
                                                               damage in any one occurrence, we will apply
           The applicable Building limit is   $100,000
                                                               each deductible separately. But the total of all
           The annual percentage                               deductible amounts applied in any one occur-
           increase is                             8%          rence will not exceed the largest applicable
           The number of days since                            deductible.
           the beginning of the
                                                          E. PROPERTY LOSS CONDITIONS
           policy year (or last policy
           change) is                              146      The following conditions apply in addition to the
           The amount of increase is                        Common Policy Conditions:
           $100,000 x .08 x (146/365) =         $3,200      1. Abandonment
   3. Business Personal Property Limit            Sea-          There can be no abandonment of any prop-
      sonal Increase                                            erty to us.
       a. The Limit of Insurance for Business Per-          2. Appraisal
          sonal Property shown in the Declarations              If we and you disagree on the value of the
          will automatically increase by 25% to pro-            property, the amount of Net Income and op-
          vide for seasonal variations.                         erating expense or the amount of loss, either
       b. This increase will apply only if the Limit of         may make written demand for an appraisal of
          Insurance shown for Business Personal                 the loss. In this event, each party will select a
          Property in the Declarations is at least              competent and impartial appraiser. The two
          100% of your average monthly values                   appraisers will select an umpire. If they can-
          during the lesser of:                                 not agree, either may request that selection
                                                                be made by a judge of a court having jurisdic-
           (1) The 12 months immediately preced-                tion. The appraisers will state separately the
               ing the date the loss or damage oc-              value of the property, the amount of Net In-
               curs; or                                         come and operating expense or the amount
           (2) The period of time you have been in              of loss. If they fail to agree, they will submit
               business as of the date the loss or              their differences to the umpire. A decision
               damage occurs.                                   agreed to by any two will be binding. Each
                                                                party will:
D. DEDUCTIBLES
                                                                a. Pay its chosen appraiser; and
   1. W e will not pay for loss or damage in any one
      occurrence until the amount of loss or dam-               b. Bear the other expenses of the appraisal
      age exceeds the Businessowners Property                      and umpire equally.
      Coverage Deductible shown in the Declara-                If there is an appraisal, we will still retain our
      tions. We will then pay the amount of covered            right to deny the claim.
      loss or damage in excess of that Deductible.
                                                            3. Duties in the Event of Loss or Damage
      But we will not pay more than the applicable
      Limit of Insurance.                                       a. You must see that the following are done
                                                                   in the event of loss or damage to Covered
   2. Regardless of the amount of the Busines-
                                                                   Property:
      sowners Property Coverage Deductible, the
      most we will deduct from any loss or damage                   (1) Notify the police if a law may have
      under the Building Glass Coverage Extension                       been broken. This duty does not ap-




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                ply to loss or damage arising from                      may result in loss of or damage to
                "employee dishonesty" and "forgery"                     Covered Property.
                or alteration.                                      (9) Cooperate with us in the investigation
           (2) Give us prompt notice of the loss or                     and settlement of the claim.
               damage. Include a description of the                (10) If you intend to continue your busi-
               property involv ed.                                      ness, you must resume all or part of
           (3) As soon as possible, give us a de-                       your "operations" as quickly as possi-
               scription of how, when and where the                     ble.
               loss or damage occurred.                         b. W e may examine any insured under oath,
           (4) Take all reasonable steps to protect                while not in the presence of any other in-
               the Covered Property from further                   sured and at such times as may be rea-
               damage, and keep a record of your                   sonably required, about any matter relat-
               expenses necessary to protect the                   ing to this insurance or the claim, includ-
               Covered Property, for consideration                 ing an insured's books and records. In the
               in the settlement of the claim. This                event of an examination, an insured's an-
               will not increase the Limit of Insur-               swers must be signed.
               ance. However, we will not pay for           4. Loss Payment          Building and Personal
               any subsequent loss or damage re-               Property
               sulting from a cause of loss that is not         a. In the event of loss or damage covered
               a Covered Cause of Loss. Also, if                   by this Coverage Form, at our option, we
               feasible, set the damaged property                  will either:
               aside and in the best possible order
                                                                    (1) Pay the value of lost or damaged
               for examination.
                                                                        property;
           (5) At our request, give us complete in-
                                                                    (2) Pay the cost of repairing or replacing
               ventories of the damaged and un-
                                                                        the lost or damaged property, subject
               damaged property. Include quantities,
                                                                        to Paragraph b. below;
               costs, values and amount of loss
               claimed.                                             (3) Take all or any part of the property at
                                                                        an agreed or appraised value; or
           (6) As often as may be reasonably re-
               quired, permit us to inspect the prop-               (4) Repair, rebuild or replace the prop-
               erty proving the loss or damage and                      erty with other property of like kind
               examine your books and records.                          and quality, subject to Paragraph b.
                                                                        below.
                Also permit us to take samples of
                damaged and undamaged property                      W e will determine the value of lost or
                for inspection, testing and analysis,               damaged property, or the cost of its repair
                and permit us to make copies from                   or replacement, in accordance with the
                your books and records.                             applicable terms of Paragraph e. below or
                                                                    any applicable provision which amends or
           (7) For loss or damage from other than                   supersedes these valuation conditions.
               "employee dishonesty" or "forgery" or
                                                                b. The cost to repair, rebuild or replace does
               alteration send us a signed, sworn
                                                                   not include the increased cost attributable
               proof of loss containing the informa-               to enforcement of any ordinance or law
               tion we request to investigate the                  regulating the construction, use or repair
               claim. You must do this within 60                   of any property, except as provided in the
               days after our request. W e will supply             Ordinance or Law Additional Coverage.
               you with the necessary forms.
                                                                c. W e will give notice of our intentions within
           (8) For loss or damage resulting from                   30 days after we receive the proof of loss.
               "employee dishonesty" or "forgery" or
                                                                d. W e will not pay you more than your finan-
               alteration, give us a detailed, sworn
                                                                   cial interest in the Covered Property.
               proof of loss within 120 days after
               you discover a loss or situation that




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       e. W e will determine the value of Covered                            (i) The Limit of Insurance appli-
          Property in the event of covered loss or                               cable to the lost or damaged
          damage as follows:                                                     property;
          (1) At replacement cost (without deduc-                            (ii) The cost to replace the lost or
              tion for depreciation), except as pro-                              damaged property with other
              vided in Paragraphs (2) through (18)                                property:
              below.                                                               a) Of comparable material
                 (a) You may make a claim for loss or                                 and quality; and
                     damage covered by this insur-                                 b) Used for the same pur-
                     ance on an actual cash value ba-                                 pose; or
                     sis instead of on a replacement
                                                                             (iii) The amount actually spent
                     cost basis. In the event you elect
                                                                                   that is necessary to repair or
                     to have loss or damage settled
                                                                                   replace the lost or damaged
                     on an actual cash value basis,
                                                                                   property.
                     you may still make a claim on a
                     replacement cost basis if you no-                       If a building is rebuilt at a new
                     tify us of your intent to do so                         premises, the cost described in
                     within 180 days after the loss or                       Paragraph (ii) above is limited to
                     damage.                                                 the cost which would have been
                                                                             incurred if the building had been
                 (b) W e will not pay on a replacement
                                                                             rebuilt at the original premises.
                     cost basis for any loss or dam-
                     age:                                                (d) The cost of repair or replacement
                                                                             does not include the increased
                     (i) Until the lost or damaged
                                                                             cost attributable to enforcement
                          property is actually repaired
                                                                             of any ordinance or law regulat-
                          or replaced; and
                                                                             ing the construction, use or repair
                     (ii) Unless the repairs or re-                          of any property.
                          placement are made as soon
                          as reasonably possible after               (2) If the Declarations indicate that Ac-
                          the loss or damage.                            tual Cash Value applies to Buildings
                                                                         or Business Personal Property, Para-
                     W ith respect to tenants' im-                       graph (1) above does not apply to the
                     provements and betterments, the                     property for which Actual Cash Value
                     following also applies:                             is indicated.
                          a) If the conditions in Para-
                                                                     (3) Personal Property of others at the
                             graphs (i) and (ii) above
                                                                         amount for which you are liable plus
                             are not met, the value of
                                                                         the cost of labor, materials or ser-
                             tenants'     improvements
                             and betterments will be                     vices furnished or arranged by you on
                             determined as a propor-                     personal property of others, not to
                             tion of your original cost,                 exceed the replacement cost.
                             as set forth under Para-                (4) The following property at actual cash
                             graph e.(7) below; and                      value:
                         b) W e will not pay for loss                    (a) Used or second-hand merchan-
                            or damage to tenants'                            dise held in storage or for sale;
                            improvements and bet-
                                                                         (b) Household furnishings; and
                            terments if others pay for
                            repairs or replacement.                      (c) Personal effects.
                 (c) W e will not pay more for loss or               (5) "Fine Arts" as follows:
                     damage on a replacement cost                        (a) If there is a schedule of "fine arts"
                     basis than the least of Para-                           on file which includes a descrip-
                     graphs (i), (ii) or (iii) subject to                    tion and value of the lost or dam-
                     Paragraph (d) below:                                    aged item, we will pay the value
                                                                             as stated in the schedule for that




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                    item if there is a total loss to that                are not restored or replaced, the
                    item. If there is a partial loss to an               "valuable papers and records" will be
                    item, we will pay the cost of rea-                   valued at the cost of replacement
                    sonably restoring or repairing that                  with blank material of substantially
                    item.                                                identical type.
                (b) For "fine arts" without a schedule              (9) "Stock" you have sold but not deliv-
                    on file as described in Paragraph                   ered at the selling price less dis-
                    (a) above, the value of "fine arts"                 counts and expenses you otherwise
                    will be the least of the following                  would have had.
                    amounts:
                                                                    (10) Property in transit (other than "stock"
                    (i) Market value of the lost or
                                                                         you have sold) at the amount of in-
                        damaged item at the time
                                                                         voice, including your prepaid or ad-
                        and place of loss;
                                                                         vanced freight charges and other
                    (ii) The cost of reasonably re-                      charges which may have accrued or
                          storing the lost or damaged                    become legally due from you since
                          item; or                                       the shipment. If you have no invoice,
                    (iii) The cost of replacing that lost                actual cash value will apply.
                          or damaged item with prop-                (11) "Money" at its face v alue.
                          erty substantially the same.
                                                                    (12) "Securities" at their v alue at the close
           (6) Glass at the cost of replacement with
                                                                         of business on the day the loss is dis-
               safety glazing material if required by
                                                                         covered.
               law.
                                                                    (13) Accounts Receivable as follows:
           (7) Tenants' Improvements and Better-
               ments at:                                                 (a) If you cannot accurately establish
                                                                             the amount of Accounts Receiv-
                (a) Replacement cost if you make                             able outstanding as of the time of
                    repairs promptly.                                        loss, we will:
                (b) A proportion of your original cost                       (i) Determine the total of the av-
                    if you do not make repairs                                    erage monthly amounts of
                    promptly. W e will determine the                              Accounts Receivable for the
                    proportionate value as follows:                               12 months immediately pre-
                    (i) Multiply the original cost by                             ceding the month in which
                         the number of days from the                              the loss occurs; and
                         loss or damage to the expira-                       (ii) Adjust that total for any nor-
                         tion of the lease; and                                   mal fluctuations in the
                    (ii) Divide the amount deter-                                 amount for Accounts Receiv-
                         mined in Paragraph (i) above                             able for the month in which
                         by the number of days from                               the loss occurred or for any
                         the installation of improve-                             demonstrated variance from
                         ments to the expiration of the                           the average for that month.
                         lease.                                          (b) If you can accurately establish
                        If your lease contains a re-                         the amount of Accounts Receiv-
                        newal option, the expiration                         able outstanding, that amount will
                        of the renewal option period                         be used in the determination of
                        will replace the expiration of                       loss.
                        the lease in this procedure.                     (c) The following will be deducted
                (c) Nothing, if others pay for repairs                       from the total amount of Accounts
                    or replacement.                                          Receivable, however that amount
           (8) "Valuable Papers and Records" at                              is established:
               the cost of restoration or replace-                           (i) The amount of the accounts
               ment. To the extent that the contents                             for which there was no loss;
               of the "valuable papers and records"



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                     (ii) The amount of the accounts                        termining the value of Covered Prop-
                          that you are able to re-                          erty:
                          establish or collect;                             (a) Distilled spirits;
                     (iii) An amount to allow for prob-                     (b) W ines;
                           able bad debts that you are
                           normally unable to collect;                      (c) Rectified products; or
                           and                                              (d) Beer.
                     (iv) All unearned interest and                    (18) Lottery tickets at their initial cost to
                          service charges.                                  you except for winning tickets at their
         (14) "Electronic Data Processing Equip-                            redeemed value.
              ment" at replacement cost as of the                 f.   Our payment for loss of or damage to
              time and place of loss, without deduc-                   personal property of others will only be for
              tion for physical deterioration, depre-                  the account of the owners of the property.
              ciation, obsolescence or depletion.                      W e may adjust losses with the owners of
              However, in the ev ent replacement of                    lost or damaged property, if other than
              "Electronic Data Processing Equip-                       you. If we pay the owners, such pay-
              ment" with identical property is im-                     ments will satisfy your claims against us
              possible, the replacement cost will be                   for the owners' property. We will not pay
              the cost of items that are similar to                    the owners more than their financial in-
              the damaged or destroyed equipment                       terest in the Covered Property.
              and intended to perform the same                    g. W e have the right but not the duty to de-
              function, but which may include tech-                  fend you against suits arising from claims
              nological advances.                                    of owners of property. W e will do so at
                 "Electronic Data Processing Equip-                  our expense.
                 ment" that is obsolete or no longer              h. W e will pay for cov ered loss or damage
                 used by you will be valued at actual                within 30 days after we receive the sworn
                 cash value.                                         proof of loss provided you have complied
                                                                     with all of the terms of this policy; and
         (15) "Electronic Data Processing Data and
              Media" for which duplicates do not                       (1) W e have reached agreement with
              exist will be valued as follows:                             you on the amount of loss; or
                 (a) The cost of blank media; and                      (2) An appraisal award has been made.
                 (b) Your cost to research, replace or            i. At our option, we may make a partial
                     restore the lost electronic data on             payment toward any claim, subject to the
                     lost, damaged or destroyed                      policy provisions and our normal adjust-
                     "Electronic Data Processing Data                ment process. To be considered for par-
                     and Media" but only if the lost                 tial claim payment, you must submit a
                     electronic data is actually re-                 partial sworn proof of loss with supporting
                     placed or restored.                             documentation. Any applicable policy de-
                                                                     ductibles must be satisfied before any
         (16) Duplicate "Electronic Data Process-                    partial payments are made.
              ing Data and Media" at the cost of:
                                                              5. Loss Payment Business Income and Ex-
                 (a) Blank media; and                            tra Expense
                 (b) Labor to copy the electronic data,           a. The amount of Business Income loss will
                     but only if the electronic data is              be determined based on:
                     actually copied.
                                                                       (1) The Net Income of the business be-
         (17) The value of United States Gov ern-                          fore the direct physical loss or dam-
              ment Internal Revenue taxes and                              age occurred;
              custom duties and refundable state
              and local taxes paid or fully deter-                     (2) The likely Net Income of the business
              mined on the following property held                         if no physical loss or damage oc-
              for sale will not be considered in de-                       curred, but not including any likely in-
                                                                           crease in Net Income attributable to



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                an increase in the volume of business                    the described premises or elsewhere;
                as a result of favorable business                        or
                conditions caused by the impact of                   (2) Extra Expense loss to the extent you
                the Covered Cause of Loss on cus-                        can return "operations" to normal and
                tomers or on other businesses;                           discontinue such Extra Expense.
           (3) The operating expenses, including                 d. If you do not resume "operations", or do
               payroll expenses, necessary to re-                   not resume "operations" as quickly as
               sume "operations" with the same                      possible, we will pay based on the length
               quality of service that existed just be-             of time it would have taken to resume
               fore the direct physical loss or dam-                "operations" as quickly as possible.
               age; and                                          e. W e will pay for cov ered loss or damage
           (4) Other relevant sources of information,               within 30 days after we receive your
               including:                                           sworn proof of loss provided you have
                (a) Your financial records and ac-                  complied with all of the terms of this pol-
                    counting procedures;                            icy; and
                (b) Bills, invoices and other vouch-                 (1) W e have reached agreement with
                    ers; and                                             you on the amount of loss; or
                (c) Deeds, liens or contracts.                       (2) An appraisal award has been made.
       b. The amount of Extra Expense will be de-            6. Recovered Property
          termined based on:                                     If either you or we recover any property after
           (1) All reasonable and necessary ex-                  loss settlement, that party must give the other
               penses that exceed the normal oper-               prompt notice. At your option, you may retain
               ating expenses that would have been               the property. But then you must return to us
               incurred by "operations" during the               the amount we paid to you for the property.
               "period of restoration" if no direct              W e will pay the recovery expenses and the
                                                                 expenses to repair the recovered property,
               physical loss or damage had oc-
                                                                 subject to the applicable Limit of Insurance.
               curred. W e will deduct from the total
               of such expenses:                             7. Noncumulative Limit
                (a) The salvage value that remains               No Limit of Insurance cumulates from policy
                    of any property bought for tempo-            period to policy period.
                    rary use during the "period of res-   F. COMMERCIAL PROPERTY CONDITIONS
                    toration", once "operations" are
                                                             1. Concealment, Misrepresentation or Fraud
                    resumed; and
                                                                 This Coverage Form is void in any case of
                (b) Any Extra Expense that is paid
                                                                 fraud by you. It is also void if you or any other
                    for by other insurance, except for
                                                                 insured, at any time, intentionally conceal or
                    insurance that is written subject
                                                                 misrepresent a material fact concerning:
                    to the same plan, terms, condi-
                    tions and provisions as this in-             a. This Coverage Form;
                    surance; and                                 b. The Covered Property;
           (2) All reasonable and necessary ex-                  c. Your interest in the Covered Property; or
               penses that reduce the Business In-
                                                                 d. A claim under this Coverage Form.
               come loss that otherwise would have
               been incurred.                                2. Control of Property
       c. W e will reduce the amount of your:                    Any act or neglect of any person other than
                                                                 you beyond your direction or control will not
           (1) Business Income loss, other than Ex-              affect this insurance.
               tra Expense, to the extent you can
               resume your "operations", in whole or             The breach of any condition of this Coverage
               in part, by using damaged or undam-               Form at any one or more premises will not af-
                                                                 fect coverage at any premises where, at the
               aged property (including "stock") at
                                                                 time of loss or damage, the breach of condi-
                                                                 tion does not exist.



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   3. Insurance Under Two or More Coverages                         (2) W ithin the cov erage territory; and
       If two or more cov erages under this Coverage            b. The coverage territory is:
       Form apply to the same loss or damage, we
                                                                    (1) The United States of America (includ-
       will not pay more than the actual amount of
                                                                        ing its territories and possessions);
       the loss or damage.
                                                                    (2) Puerto Rico; and
   4. Legal Action Against Us
       No one may bring a legal action against us                   (3) Canada.
       under this Coverage Form unless:                     9. Transfer of Rights of Recovery Against
                                                               Others to Us.
       a. There has been full compliance with all of
          the terms of this Coverage Form; and                  If any person or organization to or for whom
       b. The action is brought within 2 years after            we make payment under this Coverage Form
          the date on which the direct physical loss            has rights to recover damages from another,
                                                                those rights are transferred to us to the extent
          or damage occurred.
                                                                of our payment. That person or organization
   5. Liberalization                                            must do everything necessary to secure our
       If we adopt any revision that would broaden              rights and must do nothing after loss to impair
       the coverage under this Coverage Form with-              them. But you may waive your rights against
       out additional premium within 45 days prior to           another party in writing:
       or during the policy period, the broadened               a. Prior to a loss to your Covered Property
       coverage will immediately apply to this Cov-                or Cov ered Income; or
       erage Form.
                                                                b. After a loss to your Covered Property or
   6. No Benefit to Bailee                                         Covered Income only if, at time of loss,
       No person or organization, other than you,                  that party is one of the following:
       having custody of Covered Property will                      (1) Someone insured by this insurance;
       benefit from this insurance.
                                                                    (2) A business firm:
   7. Other Insurance
                                                                         (a) Owned or controlled by you; or
       a. You may have other insurance subject to
          the same plan, terms, conditions and pro-                      (b) That owns or controls you; or
          visions as the insurance under this Cov-                  (3) Your tenant.
          erage Form. If you do, we will pay our                This will not restrict your insurance.
          share of the covered loss or damage. Our
          share is the proportion that the applicable       10. Coinsurance
          Limit of Insurance under this Coverage                If a Coinsurance percentage is shown in the
          Form bears to the Limits of Insurance of              Declarations, the following condition applies.
          all insurance covering on the same basis.             a. W e will not pay the full amount of any
       b. If there is other insurance covering the                   loss if the value of Covered Property at
          same loss or damage, other than that de-                   the time of loss multiplied by the Coinsur-
          scribed in Paragraph a. above, we will                     ance percentage shown for it in the Dec-
          pay only for the amount of covered loss                    larations is greater than the Limit of In-
          or damage in excess of the amount due                      surance for the property.
          from that other insurance, whether you                    Instead, we will determine the most we
          can collect on it or not. But we will not pay             will pay using the following steps:
          more than the applicable Limit of Insur-
          ance.                                                     (1) Multiply the value of Covered Prop-
                                                                        erty at the time of loss by the Coin-
   8. Policy Period, Coverage Territory
                                                                        surance percentage;
       Under this Coverage Form:
                                                                    (2) Divide the Limit of Insurance of the
       a. W e cover loss or damage you sustain                          property by the figure determined in
          through acts committed or events occur-                       step (1);
          ring:
                                                                    (3) Multiply the total amount of the cov-
           (1) During the policy period shown in the                    ered loss, before the application of
               Declarations; and




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                any deductible, by the figure deter-               (2) Additional Coverages;
                mined in step (2); and                             (3) Coverage Extensions; or
           (4) Subtract the deductible from the fig-               (4) Loss or damage in any one occur-
               ure determined in step (3).                             rence totaling less than $2,500.
           W e will pay the amount determined in           11. Mortgageholders
           step (4) or the limit of insurance, which-
           ever is less.                                       a. The term, mortgageholder, includes trus-
                                                                  tee.
           For the remainder, you will either have to
           rely on other insurance or absorb the loss          b. W e will pay for covered loss of or damage
           yourself.                                              to buildings or structures to each mort-
                                                                  gageholder shown in the Declarations in
           Example No. 1 (Under insurance):                       their order of precedence, as interests
           W hen:                                                 may appear.
           The value of the property is  $250,000              c. The mortgageholder has the right to re-
                                                                  ceive loss payment even if the mortgage-
           The Coinsurance percent                                holder has started foreclosure or similar
           for it is                           90%                action on the building or structure.
           The Limit of Insurance for
                                                               d. If we deny your claim because of your
           it is                         $112,500
                                                                  acts or because you have failed to com-
           The Deductible is                  $250                ply with the terms of this Coverage Form,
           The amount of loss is           $40,000                the mortgageholder will still hav e the right
           Step (1): $250,000 x 90% = $225,000                    to receive loss payment if the mortgage-
           (the minimum amount of insurance to                    holder:
           meet your Coinsurance requirements)                     (1) Pays any premium due under this
           Step (2): $112,500/$225,000 = .50                           Coverage Form at our request if you
                                                                       have failed to do so;
           Step (3): $40,000 x .50 = $20,000
                                                                   (2) Submits a signed, sworn proof of loss
           Step (4): $20,000 - $250 = $19,750
                                                                       within 60 days after receiving notice
           W e will pay no more than $19,750. The                      from us of your failure to do so; and
           remaining $20,250 is not covered.
                                                                   (3) Has notified us of any change in
           Example No. 2 (Adequate Insurance):                         ownership or occupancy or substan-
                                                                       tial change in risk known to the mort-
           W hen:                                                      gageholder.
           The value of the property is    $250,000               All of the terms of this Coverage Form will
           The Coinsurance percentage                             then apply directly to the mortgageholder.
           for it is                            90%
                                                               e. If we pay the mortgageholder for any loss
           The Limit of Insurance for                             or damage and deny payment to you be-
           it is                           $225,000               cause of your acts or because you have
           The Deductible is                   $250               failed to comply with the terms of this
           The amount of loss is            $40,000               Coverage Form:
           The minimum amount of insurance to                      (1) The mortgageholder's rights under
           meet your Coinsurance requirement is                        the mortgage will be transferred to us
           $225,000 ($250,000 x 90%).                                  to the extent of the amount we pay;
           Therefore, the Limit of Insurance in this                   and
           Example is adequate and no penalty ap-                  (2) The mortgageholder's rights to re-
           plies. W e will pay no more than $39,750                    cover the full amount of the mort-
           ($40,000 amount of loss minus the de-                       gageholder's claim will not be im-
           ductible of $250).                                          paired.
       b. Coinsurance does not apply to:                               At our option, we may pay to the
                                                                       mortgageholder the whole principal
           (1) "Money" and "securities";                               on the mortgage plus any accrued in-



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                 terest. In this event, your mortgage                (6) The cracking of any part on any in-
                 and note will be transferred to us and                  ternal combustion gas turbine ex-
                 you will pay your remaining mortgage                    posed to the products of combustion.
                 debt to us.                                  3. "Communication Supply Services"
       f.   If we cancel this policy, we will give writ-          a. Means property supplying communication
            ten notice to the mortgageholder at least:               services, including telephone, radio, mi-
            (1) 10 days before the effective date of                 crowave or television services, to the de-
                cancellation if we cancel for your non-              scribed premises, such as:
                payment of premium; or                               (1) Communication transmission lines,
            (2) 30 days before the effective date of                     including fiber optic transmission
                cancellation if we cancel for any other                  lines;
                reason.                                              (2) Coaxial cables; and
       g. If we elect not to renew this policy, we will              (3) Microwave radio relays, except satel-
          give written notice to the mortgageholder                      lites; and
          at least 10 days before the expiration
          date of this policy.                                    b. Does not mean overhead transmission
                                                                     lines.
G. PROPERTY DEFINITIONS
                                                              4. "Covered Equipment"
   1. "Banking Premises" means the interior of
      that portion of any building which is occupied              a. Means the following types of equipment:
      by a banking institution or similar safe deposi-               (1) Equipment designed and built to op-
      tory.                                                              erate under internal pressure or vac-
   2. "Breakdown"                                                        uum other than weight of contents;
       a. Means:                                                     (2) Electrical or mechanical equipment
                                                                         that is used in the generation, trans-
            (1) Failure of pressure or vacuum equip-
                                                                         mission or utilization of energy;
                ment;
                                                                     (3) Fiber optic cable; and
            (2) Mechanical failure, including rupture
                or bursting caused by centrifugal                    (4) Hoists and cranes;
                force; or                                         b. Does not mean any:
            (3) Electrical failure including arcing;                 (1) "Electronic Data Processing Equip-
          that causes physical damage to "covered                        ment";
          equipment" and necessitates its repair or                  (2) "Electronic Data Processing Data and
          replacement; and                                               Media";
       b. Does not mean:                                             (3) Part of pressure or vacuum equip-
            (1) Malfunction, including but not limited                   ment that is not under internal pres-
                to adjustment, alignment, calibration,                   sure of its contents or internal v ac-
                cleaning or modification;                                uum;
            (2) Leakage at any valve, fitting, shaft                 (4) Insulating or refractory material;
                seal, gland packing, joint or connec-                (5) Pressure vessels and piping that are
                tion;                                                    buried below ground and require the
            (3) Damage to any vacuum tube, gas                           excavation of materials to inspect,
                tube, or brush;                                          remove, repair or replace;
            (4) Damage to any structure or founda-                   (6) Structure, foundation, cabinet or com-
                tion supporting the "covered equip-                      partment supporting or containing the
                ment" or any of its parts;                               "covered equipment" or part of the
            (5) The functioning of any safety or pro-                    "covered equipment" including pen-
                tective device; or                                       stock, draft tube or well casing;
                                                                     (7) Vehicle, aircraft, self -propelled equip-
                                                                         ment or floating vessel, including any




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                equipment mounted on or used solely             b. Does not mean equipment used to oper-
                with any vehicle, aircraft, self -                 ate production type of:
                propelled equipment or floating ves-               (1) Machinery; or
                sel;
                                                                   (2) Equipment.
           (8) Elevator or escalator, but not exclud-
                                                            8. "Electronic Vandalism" means any acts by
               ing any electrical machine or appara-
                                                               persons, other than "employees", involving
               tus mounted on or used with this
                                                               any of the following:
               equipment; or
                                                                a. W illful or malicious destruction of com-
           (9) Equipment or any part of such equip-                puter programs, content, instructions or
               ment manufactured by you for sale.                  other electronic or digital data stored
   5. "Diagnostic Equipment" means any:                            within computer systems; or
       a. Equipment; or                                         b. Unauthorized computer code or pro-
       b. Apparatus;                                               gramming that:
      used solely for research, diagnostic, medical,               (1) Deletes, distorts, corrupts or manipu-
      surgical, therapeutic, dental or pathological                    lates computer programs, contents,
      purposes.                                                        instructions or other electronic or digi-
                                                                       tal data, or otherwise results in dam-
   6. "Electronic Data Processing Data and Me-
                                                                       age to computers or computer sys-
      dia"
                                                                       tems or networks to which is intro-
       a. Means any of the following used in your                      duced;
          computer operations:
                                                                   (2) Replicates itself, impairing the per-
           (1) Data stored as or on, created or used                   formance of computers or computer
               on, or transmitted to or from com-                      systems or networks; or
               puter software (including systems
               and applications) on electronic data                (3) Gains remote control access to data
               processing, recording or storage me-                    and programming within computers
               dia such as hard or floppy disks, CD-                   or computers systems or networks to
               ROMS, tapes, drives, cells, data                        which it is introduced, for uses other
               processing devices or any other re-                     than those intended for authorized
               positories of computer software which                   users of the computers or computer
               are used with electronically controlled                 systems or networks.
               equipment;                                   9. "Employee(s)"
           (2) The electronic media on which the                a. Means:
               data is stored; and                                 (1) Any natural person:
           (3) Programming records and instruc-                        (a) W hile in your service (and for 30
               tions used for "Electronic Data Proc-                       days after termination of service);
               essing Equipment"; and                                  (b) W hom you compensate directly
       b. Does not mean "Valuable Papers and                               by salary, wages or commissions;
          Records".                                                        and
   7. "Electronic Data Processing Equipment"                           (c) W hom you have the right to direct
       a. Means any of the following equipment                             and control while performing ser-
          used in your operations:                                         vices for you;
           (1) Electronic data processing equip-                   (2) Any natural person employed by an
               ment, facsimile machines, word proc-                    employment contractor while that
               essors, multi-functional telephone                      person is subject to your direction
               equipment and laptop and portable                       and control and performing services
               computers; and                                          for you excluding, however, any such
                                                                       person while having care and custody
           (2) Any component parts and peripherals                     of property outside the premises; or
               of such equipment, including related
               surge protection devices; and



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           (3) Your directors or trustees while acting      15. "Manager" means a person serving in a di-
               as a member of any of your elected               rectorial capacity for a limited liability com-
               or appointed committees to perform               pany.
               on your behalf specific, as distin-          16. "Member" means an owner of a limited liabil-
               guished from general, directorial acts;          ity company represented by its membership
               and                                              interest, who also may service as a "man-
       b. Does not mean any agent, broker, person               ager".
          leased to you by a labor leasing firm, fac-       17. "Money" means currency and coins in cur-
          tor, commission merchant, consignee, in-              rent use, bank notes, travelers checks, regis-
          dependent contractor or representative of             ter checks and money orders held for sale to
          the same general character.                           the public.
   10. "Employee Dishonesty" means only dis-                18. "Operations" means your business activities
       honest acts, committed by an "employee",                 occurring at the described premises and the
       whether identified or not, acting alone or in            tenantability of the described premises.
       collusion with other persons, except you, a          19. "Period of Restoration"
       partner, a "member", or a "manager" with the
       manifest intent to:                                      a. Means the period of time that:
       a. Cause you to sustain loss; and also                       (1) Begins:
       b. Obtain financial benefit (other than sala-                    (i) For Business Income coverage:
          ries, commissions, fees, bonuses, promo-                          a) W ith the date of direct physi-
          tions, awards, profit sharing, pensions or                           cal loss or damage, if the
          other employee benefits earned in the                                Declarations show Immedi-
          normal course of employment) for:                                    ately for Period of Restora-
           (1) The "employee"; or                                              tion Time Period; or
           (2) Any person or organization intended                          b) 72 hours after the time of di-
               by the "employee" to receive that                               rect physical loss or damage,
               benefit.                                                        if the Declarations show 72
                                                                               hours for Period of Restora-
   11. "Fine Arts"                                                             tion Time Period; or
       a. Means paintings, etchings, pictures, tap-                     (ii) For Extra Expense coverage with
          estries, art glass windows, valuable rugs,                         the date of direct physical loss or
          statuary, marbles, bronzes, antique furni-                         damage;
          ture, rare books, antique silver, porce-
          lains, rare glass, bric-a-brac, and similar                   caused by or resulting from any Cov-
          property with historical value, or artistic                   ered Cause of Loss at the described
          merit; and                                                    premises; and
       b. Does not mean any glass that is part of a                 (2) Ends on the earlier of:
            building or structure.                                      (i) The date when the property at
   12. "Forgery" means the signing of the name of                           the described premises should be
       another person or organization with intent to                        repaired, rebuilt or replaced with
       deceive. "Forgery" does not mean a signature                         reasonable speed and similar
       which consists in whole or in part of one's                          quality; or
       own name signed with or without authority, in                    (ii) The date when business is re-
       any capacity for any purpose.                                         sumed at a new permanent loca-
   13. "Interior of any building or structure"                               tion; and
       means all portions of the building or structure          b. Does not mean any increased period re-
       that are within the exterior facing surface ma-             quired due to the enforcement of any law
       terial of the building or structure.                        that:
   14. "Maintenance Fees" means the regular                         (1) Regulates the construction, use or
       payment made to you by unit-owners and                           repair, or requires the tearing down of
       used to service the common property.                             any property; or




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           (2) Requires any insured or others to test            b. Includes "covered equipment" that is
               for, monitor, clean up, remove, con-                 used solely with or forms an integral part
               tain, treat, detoxify or neutralize, or in           of the:
               any way respond to, or assess the ef-                 (1) Production;
               fects of "pollutants".
                                                                     (2) Process; or
       The expiration date of this policy will not cut
       short the "period of restoration".                            (3) Apparatus.
   20. "Pollutants" means any solid, liquid, gase-           24. "Rental Value" means Business Income that
       ous or thermal irritant or contaminant, includ-           consists of:
       ing smoke, vapor, soot, fumes, acids, alkalis,            a. Net Income (Net Profit or Loss before in-
       chemicals, waste, and any unhealthful or                     come taxes) that would have been
       hazardous building materials (including but                  earned or incurred as rental income from
       not limited to asbestos and lead products or                 tenant occupancy of the premises de-
       materials containing lead). W aste includes                  scribed in the Declarations as furnished
       materials to be recycled, reconditioned or re-               and equipped by you, including the fair
       claimed.                                                     rental value of any portion of the de-
   21. "Power Generating Equipment"                                 scribed premises which is occupied by
                                                                    you; and
       a. Means the following types of equipment
          or apparatus:                                          b. Continuing normal operating expenses
                                                                    incurred in connection with that premises,
           (1) Pressure;                                            including:
           (2) Mechanical; or                                        (1) Payroll; and
           (3) Electrical;                                           (2) The amount of charges which are the
           used in or associated with the generation                     legal obligation of the tenant(s) but
           of electric power; and                                        would otherwise be your obligations.
       b. Does not mean such equipment that is               25. "Securities" means all negotiable and non-
          used solely to generate emergency power                negotiable instruments or contracts repre-
          that is less than or equal to 1000KW .                 senting either "money" or other property and
   22. "Power Supply Services"                                   includes revenue or other stamps in current
                                                                 use, tokens, tickets and credit card slips for
       a. Means the following types of property                  sales made by you and held by you for reim-
          supplying electricity, steam or gas to the             bursement from companies issuing credit
          described premises:                                    cards, but does not include "money". Lottery
           (1) Utility generating plants;                        tickets held for sale are not securities.
           (2) Switching stations;                           26. "Specified Causes of Loss" means the fol-
                                                                 lowing:
           (3) Substations;
                                                                 Fire; lightning; explosion; windstorm or hail;
           (4) Transformers; and                                 smoke; aircraft or vehicles; riot or civil com-
           (5) Transmission lines; and                           motion; vandalism; leakage from fire extin-
       b. Does not mean overhead transmission                    guishing equipment; sinkhole collapse; vol-
          lines.                                                 canic action; falling objects; weight of snow,
                                                                 ice or sleet; water damage.
   23. "Production Equipment"
                                                                 a. Sinkhole collapse means the sudden
       a. Means any:                                                sinking or collapse of land into under-
           (1) Production machinery; or                             ground empty spaces created by the ac-
                                                                    tion of water on limestone or dolomite.
           (2) Process machinery;
                                                                    This cause of loss does not include:
           that processes, shapes, forms or grinds:
                                                                     (1) The cost of filling sinkholes; or
           (1) Raw materials;
                                                                     (2) Sinking or collapse of land into un-
           (2) Materials in process; or                                  derground man-made cavities.
           (3) Finished products; and




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                                                                                           BUSINESSOW NERS


       b. Falling objects does not include loss of or                ant. Such building is vacant when it does
          damage to:                                                 not contain enough business personal
           (1) Personal Property in the open; or                     property to conduct customary opera-
                                                                     tions.
           (2) The "interior of a building or struc-
                                                                 (2) W hen this policy is issued to the owner or
               ture", or property inside a building or
                                                                     general lessee of a building, building
               structure, unless the roof or an out-
                                                                     means the entire building. Such building
               side wall of the building or structure is             is vacant unless at least 31% of its total
               first damaged by a falling object.                    square footage is:
       c. W ater damage means accidental dis-
                                                                     (a) Rented to a lessee or sub-lessee and
          charge or leakage of water or steam as
                                                                         used by the lessee or sub-lessee to
          the direct result of the breaking apart or
                                                                         conduct its customary operations; or
          cracking of any part of a system or appli-
          ance (other than a sump system including                   (b) Used by the building owner to con-
          its related equipment and parts) that is lo-                   duct customary operations.
          cated on the described premises and                31. "Valuable Papers and Records"
          contains water or steam.
                                                                 a. Means inscribed, printed or written:
   27. "Stock" means merchandise held in storage
       or for sale, raw materials and in-process or                  (1) Documents;
       finished goods, including supplies used in                    (2) Manuscripts; or
       their packing or shipping.                                    (3) Records;
   28. "Suspension" means:
                                                                     including abstracts, books, deeds, draw-
       a. The partial or complete cessation of your                  ings, films, maps or mortgages; and
          business activities; or
                                                                 b. Does not mean "money" or "securities" or
       b. That a part or all of the described prem-                 "Electronic Data Processing Data and
          ises is rendered untenantable.                            Media".
   29. "Theft" means any act of stealing.                    32. "Water Supply Services" means the follow-
   30. "Vacant" means the following:                             ing types of property supplying water to the
                                                                 described premises:
       (1) W hen this policy is issued to a tenant,
           and with respect to that tenant's interest            a. Pumping stations; and
           in Covered Property, building means the               b. W ater mains.
           unit or suite rented or leased to the ten-




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                      
                                 
                      
                         
                  




                                  
                                  




                    

                    
                    
                    




       
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                                                                       


 
                 
 
                 
             
       
               
 
           
              
 
 
  
                   
                 
       
                
 
 
                 
     

  
                    
     

               
      
     

               
                   
     
     

  
 
 
                
                   
 




                                        
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                 
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                                          
                              
                                              
 




     
     
     



     

                                 
                                                 
                                  

                                                                             



 
   
                                 
                                                                   




  
   
       
                                                                      




   


                                   
                                     
                                          
                             
                                    
   
                                                                           
                           
                                                                     
  
        
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
                               
                                         












                         









                                 





















                  
                  
   
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                                   

                   



                                            
    


                                                   
    


                
                
                    







   
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                         
                                
                                             




                                                        

                       




  
                                   


       
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                                            
                                           
                                               


                 

     
     


                  
                                 
                   
                  
                  
                  
                   

     
                   
                                 
                   
                   
                  
                   
                   
                   
                                 
                  
                  

     
                  
                                 
                  
                  
                                 
                   
                  
                                 
                  
                  
                   
                   
                                 
                  
                  
                   
                                 
                   
                                 
      


                                                          
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                                         
                                        
                                            



     
               
                
                
                              
                
                              
                
                              
               
                
                              
                

     
                

     
                
                
                
                
                
                              
                
                
                

     
                
                              
               


                
                              




      


                                                       
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                                                    
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 
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                                                                         
                                                                                                          

      

                      

        
                                                                 
         
         




                                                          
                                                          
                                             
                                                                                        
   
                                                                                             
                                                           
                                             
                                             
                                                 
                                                     
                                          
                                          
                                       
                                   
                                          
    
                                                                                            
                                                                      
                                             
                                               
                                            
        
                                                                                             
                
                                                                                      
         
                                                  
                                            
                                                 
                                                 
                                                  
                                        
                                                                      
                                              
                                              
                                                
                                                                               
                                                                     
                                                                                      
               
                                                                                            


                                                
                          
Case 3:20-cv-05702-MAS-ZNQ Document 1-1 Filed 05/08/20 Page 53 of 121 PageID: 65



                                                         
                                                               
                                                                  
                                                                                                  
             
                                                                                                      
           
                                                                                                     
                                                                                       
                                                                                    
                                                                                                     
                                                                                   
                                                               
                                                      
           
                                                                                          
                                                            
               
                                                                                          
                                                            
                   
                                                            
                                                          
                                                               
                                                               
                        
                                                                                        
                   
                                                                                            
                   
                                                                                         
                        
                                                                                            
                       
                                                                                       
                    
                                                                                            
                                                    
                  
                                                                                       
                
                                                                                         
                     
                                                                                     
               
                                                               
                                                                                           
             
                                                                    
                                                                                              
                   
                                                                                           
                    
                                         
                                                     
                                                          
                                                               
                                                  
                                                 
                                                      
                                                      
                   
                                                                                         
                                                   
                         
                                                      
                                                    
                                                             
                                                                  
                                                                                        


                                                   
                         
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                                                                                                                  


                                                                           
                                 
                                  
                                 
                           
                                     
                                                  
                              
                             
          
                                                            
                                     
                                                                     
                                                                                        
                                        
                                                                              
                                             
                                     
        
                                       
                                                                                      
                                        
                                             
                                               
        
                                                                                           
                                         
                                         
                                                   
                              
                                           
                                                                          
                              
                               
   
                                                                                         
                                          
                                                          
                                         
                                                
                                               
                                                                             
                                        
                                           
                                      
                                                                         
                                          
                                             
                                                
                                                         
                                                                                      
     
                                                                              
     
                                              


                                               
                          
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


                                                       
                                                         
           
                                                                                                 
           
                                                          
                                                              
                                                          
           
                                                                                                 
           
                                                         
                                                                              
                                                                                                 
        
                                                                                       
            
                                                                                                
                                                            
                                                                 
                                                                  
                                                             
                                                                    
                                                             
                                                                   
                                                          
                                                            
                                                            
                                                                        
                                                                          
                                                               
                                                               
                       
                                                                                                 
                                                                  
                                                                   
                    
                                                                                                
                                                              
                          
                                                                     
                                                                 
                                                                      
                                                                                         
                                                                                                
                
                                                                                            
                       
                                                                        
                                                                        
                                                                     
                                                                      

                                                      
                                                          
                                                         
                                                           
                                                              
                                                               
                       
                                                                                                 
                                                                                                

                                            
                        
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                                                                                                                 


                                                    
                                                                    
                                                
                                                                 
                                             
                                                    
                                                                                   
                                                     
                                                        
                                                  
                                                   
                                                                            
                                                 
                                                   
               
                                                                                                 
                                                     
           
                                                         
                                                                                 
                                                                                                      
                                                         
              
                                                
                                                    
                                                
                                                  

                                            
                                           
                                              
                                                 
                                               
                                   
           
                                                                                          
                                                   
                                                      
                                                                                      
                                             
           
                                                                                        
                
                                                                
                                                                      
                                        
                                                
                                             
                                                         
                                                                             
                                                                                     
            
                                                                                  
                 
                                                                                           
               
                                                                                          
                                           
               
                                                                             
               


                                               
                         
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


                                             
                                                   
                                                       
                                                
                                                         
                                                     
                                                                
                                                                                         
              
                                                                                          
              
                                                                                                      
                                                                            
                                                     
                                                              
                                                                                             
                                                            
                                                         
                                                                                                        
                 
                                                                                                   
                  
                                                                                                        
                
                                                                                      
                                                                                                   
        
                                                          
                                                                                                         
           
                                                                                                         
                                                     
                                                           
                                                             
                                                       
                                                                                               
                                                                                                    
              
                                                      
                                                                                 
                                                                                                  
                                                  
                                                        
                                                            
                                                      
                                                           
                                                        
                    
                                                             
                                                                                                   
               
                                                                                                   
                                                  
                                                           
                                                         
                                                       
                                                                        
                                                                                             
                      
                                                              
                                                                    
                                                                         
                                                                                       
                                                                                                       
                   
                                                                                                       


                                                
                           
Case 3:20-cv-05702-MAS-ZNQ Document 1-1 Filed 05/08/20 Page 58 of 121 PageID: 70
                                                                                                                   


                                                                   
                                                                   
                                                                   
                                                                   
                                                                       
                                                                    
                                                                  
                                                                     
                                                              
                                                 
                         
                                                                                      
                                                                                                  
                                                                  
                                                                        
                                                                  
                                                                  
                                                                    
                                                               
                                                                  
                                                                
                                                                
                            
                                                               
                                                                  
                                                                          
                                                                         
                                                                    
                                                                                                  
                                                                                                       
                  
                                                                                                  
                            
                                                                        
                                                                     
                                                                      
                                                                           
                                                                         
                                                                           
                                                                           
                                                                         
                                                                             
                                                                      
                                                                    
                                                                                         
                                                                                                      
                       
                                                                   
                                                                         
                                                                            
                                                                          
                                                                    
                                                                       
                                                                  
                                                                  
                                                                         
                                                                    



                                                
                           
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


                                                                 
                                                                  
                                                                       
                                                                              
                                                                      
                                                                       
                                                                    
                                                                             
                                                                       
                                                                        
                                                                                                     
                                                                                                     
                       
                                                                                                    
                       
                                                                                                        
                       
                                                                                                         
                            
                                                                                                        
                           
                                                                                                    
                           
                                                                           
                                                                              
                                                                         
                                                                                    
                                                                         
                                                                              
                                                                            
                                                                         
                                                                          
                                                                             
                                                                               
                                                                       
                                                
                                                             
                                                         
                            
                                                           
                                                                                           
                                                        
                              
                                                                                   
                                                                                         
                                                               
                               
                                                           
                                              
                                                   
                             
                                                 
                                                       
                                                               
                                                   
                                                        
                                                        
                                                          
                                                       
                                                      
                                                                                      


                                             
                       
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                                                                                                                  


                                                         
                                                         
                                                     
                                                 
                                                    
                                                  
                                                    
                                        
                                                
                                            
                                             
                                                                               
                                                 
                                                           
                                                                          
                                                
                                                   
                                                   
                                                          
                                                                 
                                                                                  
                                                       
                                                            
                                                          
                                                                   
                                                                               
                                                 
                                                        
                                                             
                                                    
                                                            
                                                            
        
                                                                                              
                                                          
                                                            
                                                                                
                                                
                                                                                   
                                                        
                                                       
                                                 
                                                     
                                                
                                                   
                                                        
                                                  
                                                  
                                                  
                                                                                      



                                                
                          
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


                                                                         
                                                                                                
             
                                                                                                   
                                                       
                                                        
                                                                          
                                                   
                                                                                  
                                                                                           
             
                                                                                      
                    
                                                        
                                                                      
                                                   
                                                                                           
                
                                                                                      
                  
                                             
                                           
                                       
                                                               
                                                   
                                                  
                                                                                            
            
                                                                                          
                                                
                                                    
                                            
                                                 
                                           
               
                                              
                                                                            
                                                
                                                                              
                                                                                              
                 
                                                           
                                                                                        
                      
                                                    
                                                   
                                                     
                                                         
                       
                                                                
                                                           
                                                               
                                                                   
                                                            
                      
                                                          
                                                           
                                                         
                      
                                                                                              
                 
                                                           
                                                                                                  

                                              
                          
Case 3:20-cv-05702-MAS-ZNQ Document 1-1 Filed 05/08/20 Page 62 of 121 PageID: 74
                                                                                                                  


                                                   
                                                      
                                                                                    
                                                         
                                              
                                                    
                
                                                                                               
                 
                                                                                               
           
                                                                                        
                                                          
                                                  
                                                                              
                                               
                                                  
                                                
                                                         
                                               
                                                  
                                                      
                                                 
                                            
                                                  
                                                            
                                            
                                             
           
                                           
                                                                                       
           
                                                                                            
                                             
                                         
                                                  
                                                    
                                                        
                                                                                       
                                                 
                                               
                     
                                                          
                                                            
                                                                
                                                                                     
                                                                                            
                                                          
                        
                                                                                            
                                                                                                
                                                          
                      
                                                                                           
                                               
                    
                                                   
                                                      
                                                   
                                                                           


                                              
                          
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


                                                               
                                           
                                                       
                                                      
           
                                                                                           
           
                                                 
                                                       
                                                    
                                                 
                                                                            
                                                
                                            
                                                                       
                                                                                            
                                                  
                                                
                                             
           
                                                        
                                                
                                                       
                                                                                      
                                                 
                                                      
                                                                                     
                     
                                              
                                                
                    
                                                                                       
                                                     
                                                               
                                             
                                            
                                                         
                                                       
                                                     
                                                                                     
                                                                                     
                                                
                                                
           
                                                                                       
                                                     
                                                  
                                                        
                                                      
                                                  
           
                                                                                        
                                                  
                                               
           
                                                                                            
                                                      
                                                                                         
                                                                                           


                                            
                         
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                                                                                                                


                                                         
                                                          
                                                         
                                                                    
                                                  
                                                    
                                               
                                               
                   
                                                                                           
                   
                                                                                               
                   
                                                        
                                                          
                                                            
                                                                                          
                                              
                                                
                                                      
                                                     
                                                                                  
                                                    
                                                                 
                                                                                               
             
                                                                                             
           
                                                                                                
                
                                                                                              
                                                                                       
                                                 
           
                                                                                             
                                                   
                                                  
                                                      
                                                 
                                                     
                                              
                                                
                                       
                                                
                                                  
                                                                           
                                          
                                                                                  
                                                                                     
            
                                                                             
                                                  
                                                  
                                                           
               
                                                                                                
                                                            
               
                                                                                            
                                                             
                                                                                                   

                                            
                        
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


                                                                             
                                                                 
                                                                
                                                                            
                                                                                                
                                                            
                                                              
                                                          
                                                                    
                                                   
                  
                                                                                      
             
                                                                                      
                                                                 
                                               
                                                  
                                                  
                   
                                                            
                                                             
                                                       
                                                        
                                                     
                                                      
                                                    
                                                         
                                                      
                                                                     
                                                    
                                                     
                                                                                  
                                                             
                                                                   
                                                                        

                                                            
                                                                              
                                                                                                      
                                                                    
                                                                   
                                                                    
                                                                          
                                                              
                                                         
                                                                
                                                                                      
                                                             
                                                               
                                                           
                                                                      
                                                 
                     
                                                   
                                             
                                                       


                                             
                          
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                                                                                                                  


                                                          
                                                                                 
                                                                                        
             
                                                                                               
                     
                                                                                        
                    
                                                                     
                                                                                            
             
                                                       
                                             
                                                                           
                                                  
                                                      
                                                       
                                                  
                                                  
                                                                          
                                                   
                                                  
                                                                  
                                                         
                                            
            
                                                                                         
                  
                                                                                  
                                                                                      
                   
                                                                                      
                
                                                                                          
                                                             
                                             
                                               
            
                                                                                         
            
                                                                                         
                
                                                       
                                                      
                                               
                                          
                                                 
                                                     
            
                                                                                           
            
                                                                                           
                                                 
                                                     
                                                
                                                                     
                                         
                                   
            
                                                
                                                  
                                                 



                                            
                          
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


                                       
                   
                                                                                
                 
                                      
                                             
                                               
                                      
             
                                                                                    
              
                                                                                    
                 
                                                  
                                                 
                                               
                                               
                  
                                         
                                        
                                                 
                                                                                      
                                             
                                                              
                                                                                      
                
                                           
                                                                                           
            
                                                                                            
             
                                                                                           
                 
                                                                                           
                                                        
                                                         
                                       
                                                             
                                                                 
                                                                                            
                                            
                                                                     
                                                  
                                                   
                                                                              
                                       
                                               
                                                                                 
                                       
                                           
                                           
                                                       
                                                                                 
        
                                                   
                                                                                        
                                                    
                                 
                                    
                                      
                                                
                                           
                                                                                     

                                            
                           
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                                                                                                               


                                                                                        
             
                                                                                         
           
                                                                                     
               




                                          
                       
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                                                                                              
                                                               

      

                      

       

                                                       

                                                                                  
                                                                          
                                                                                        
          





  
  

                                               
                                            
                                          
                                             
                                         
                                                                    
                                       
                                                                                         
                                                    
                                                    
                                                         
                                                           
                                                       
                                                    
                  
                                                    
                                                  
                                                                       
                                                    
                                                                                       
                                                               
                                                            
                                                         
                                         
                                               
                                                 
                                                   



                                                  
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


                                                          
                                                              
                                                           
                                                             
                                                              
                                                      
                                                      
                                                     
                                                     
                                                                                   
                                                                  
                                                       
                                                          
                                            
                                                     
                                                        
                                                       
                                                          
                                                      
                                                        
                                                            
                                                   
                        
                                                       
                                                                 
                                                      
                        
                                                                                         
                  
                                                                                     
                   
                                                                                        
                     
                                                                                             
                  
                                                                                        
                      
                                                                                         
                      
                                                                                              
                                                      
                                                       
                      
                                                                                 
                                                  
                                                          
                                                                             




                                                      
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                                                                                            
                                                             

      

                
                     

       

 
   
   
                                                   

                                       
                                               
                                            
                              
                                                                      
       
                              
                                          
                                   
                                            
                                            
                                                         
                                
                                        
                                                   
                                                          
                                                                               
             
                                                                               
                     
                                                                                    
                 
                                                                               
                    
                                                                                 
                      
                                                                                        
                 
                                                                                     
                       
                                                                                    
                      
                                                       
                                                                     
                                              
                                                                                
                                                                                              
            
                                                                                               
          
                                                                                         
             
                                                                                           
          
                                                                                            
                                                          
                                                  
                                                
             



                                                                                                       
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


                                                  
                                                                          
                                                 
                                              
                                              
                                                     
                                               
                                                   
                                             
                                             
                                                   
                                            
                                                  
                                             
                                                     
                                                  
                                          
                                          
                                          
                         
                                                                                  
                                           
                  
                                                                                  
                                               
                                                  
                                                   
                                                    
                                             
                                                   
                                                
                                            
                                       
                                          
                                          
                                          
                                          
                                              
                                             
                                           
                                             
                                                  
                                                
                                          
                                           
                                             
                                             
                                           
                  
                                                                          
                               
               
                                                                     
                                                                         
                   
                                
                                          
                                



                                                                                                 
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                                                                                                   


                                    
                           
                    
       
                           
                                
                                                                      
                                                                       
            
                         
                            
                
                                                                          
          
                                                                            
                                 
                               
                                          
                             
                                                           
                                      
                                                                      
                  
                           
                                 
               
                                         
                                                                                
                                         
                                       
                                     
                                
                                 
               
                                                   
                                                                                
                                       
                                       
                               
                                   
                              
       




                                                                                                
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                                                   
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 
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                                                         

  
                
                                                                                                       



      
                               
          
                                                        
      
                                 
        
                                                        
      
                                         
                                                         
      
  
 
  
      
       
      
       
       
      
       
       
       

  





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                                                                                             



   

                                 
                            
                                                             
                                  
                                    

                                        
                                            
                                         
                                                
                                                                                   
                                                                                             
                                                
                                       
                                                                                  
                                                                                            
                                                                   
                                                                                             
      
                                                                                         
                                                                        
 
                                                                                     
                                               
                                             
                                  
                                              
                                 
                                       
                                            
                                         
                                       
              
                                         
                                       
                                                                                         
                                                  
                                     
                                                                       
                                                                                  
                 
                                                       
                                                      
                                                  
            
                                                                                           
                                              
              
                                                                                        
            
                                                                                  
                                             
                                                              




                                                 
                         
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


                                           
                                               
                                     
                                                       
                                                                         
                                                                                       
                                                      
                                                          
                                                                                       
       
                                                                                            
             
                                                                                         
              
                                                                                        
              
                                                                                  
       
                                                                             
    
                                                                                        
             
                                                      
                                                                                      
              
                                                                                 
         
                                             
                                 
                                                         
                                        
                                               
                
                                                
                                                  
                                             
                                                    
                                        
                   
                                                  
                                                
                                                                                          
                                              
                                           
                     
                                                                         
                                                                                        
                                           
                      
                                         
                                                          
                                                            
                                                                   
                                                                                      
    
                                               
                                                     
                                                                                                 
                                                  
                                                                            
                                                    
                                                              
                                                                  
                                                                                                    



                                             
                        
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                                                                                            


                                                                  
                                                                     
                                                                    
                                                                        
                                                                    
                                                                                        
                                                                                                  
                                                                     
                           
                                                                                                     
                            
                                                                                                      
                            
                                                                                                    
                           
                                                                                                       
                           
                                                                                                        
                          
                                                                                                      
                         
                                                                                                        
                           
                                                                                                       
                           
                                                                                                      
                           
                                                                                                       
                           
                                                                                                      
                            
                                                                                                     
                          
                                                                                                  
                      
                                                               
                                                                        
                                                                    
                                                                                               
                                                                 
                                                            
                                                        
                                                                
              
                                                                                                
                  
                                                                                                      
                 
                                                                                                       
                   
                                                                                                  
              
                                                                           
                                                                                                 
                      
                                                                                              
                          
                                                                                                
                      
                                                                                                 
                                                            
                                                          
                                                           
                                                         
                                                   
                    
                                                 
                                                
                 
                                                   
                                                                                           
                                                                  
                                                             
                                                             
                                                          



                                                  
                        
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


                                                      
                                                            
                                                                
                                                     
                             
                                             
                                                    
                
                                                                                        
                                                                
                                           
           
                             
                                      
                                  
                                                           
                                                    
                                       
           
                                                                                          
       
                                                                                            
             
                                                                                           
       
                                                     
                               
                                           
                                                
                                                 
                                           
                                                                               
                                                   
                                                                                          
                                                         
                                             
                                                                    
                                              
                                           
                                      
           
                                                                                  
            
                                            
                                                            
                                                                                      
                                                    
                                                                                 
                                                                                            
                 
                                                                                           
                      
                                                                                      
                       
                                           
                                                         
                                                         
                   
                                                                                   
                     
                                                
                                                                          



                                             
                        
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                                                                                             


                                              
                                                   
                                     
                  
                                                                               
                  
                                                                  
                                                                                   
               
                                                                                            
                 
                                                                                                   
                
                                                                                       
            
                                                                                   
                
                                         
                                    
                
                                                              

                                        
                                         
                                             
                                                                                       
                                           
              
                                                 

                                           
                                   
                                                 
                                                             
                                   
                                                         

                                                                   
                                                                                   
               
                           
                                                        
                                      
                                               
                                          
                                                                      
                                         
                                                               
                                               
                                        
                                                                   
                                        
                 
                                                                                      
            
                                                                                              
                                              
                                                   
                                                  
                                                                                            
                                            
                                            



                                               
                         
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


                                            
                                                
                                              
                                    
                                                  
                                              
                                          
                                        
                                                   
                                                               
                                  
                                                                    
                               
                                  
                   
                                                                                      
                                                   
                                              
                                                      
                                                
                                                                          
                                                 
                                                  
                                                                                       
                 
                                                                                            
                 
                                                                                        
                           
                                                                                 
                  
                                                       
                                                     
                                                        
                                                             
                                                                         
                                                                                             
                                                             
                                                     
                                                           
                                                                          
                                               
                                                
                                                
                                                     
                                                        
                                              
                                               
                  
                                                                            
                   
                                       
                                         
                                                     
                                                  
                                                   
                                       
                                      
                 


                                            
                            
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                                                                                            


                                                       
                                                      
                                                          
                                                                                     
                                
                                       
                                
             
                                                                      
                                                                                
                                          
                                                                               
                                     
                                      
            
                                                                              
                
                                               
                                                                                       
                                          
                
                                             
                                                
                                              
                                                                     
                                                                                       
                                                                          
                                
             
                                                                                    
      
                                                                                    
    
                                                                                    
            
                                     
                                        
      
                                                                                    
        
                                                                                    
           
                                        
                                          
                                                      
                                                  
                                              
                 
                                              
                                                     
                                                     
                                                    
                                                  
                                     
                                         
                                                 
                                                        
                                                           
                 
                                                                                    
                      


                                                
                        
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


                                                 
                                                               
                                    
                                                               
              
                                                                                   
          
                                                                     
                                                                                            
        
                                                                                           
                                                 
                                             
                 
                                                                                      
                 
                                                                                           
                 
                                                                                           
            
                                                                                      
                
                                                                              
                  
                                        
                                               
                                                                       
                                                                                  
    
                                                                                   
                                
              
                                                
                                                              
                                                                                         
                                           
                                                                        
                                  
                                              
                                       
                                         
                                                           
                                                                               
                                                                                      
              
                                      
                                               
                                                 
                                                                                           
                                                                     
                                             
                                                                                              
                                              
                                               
                                          
                  
                                                 
                                                                 
                                                
                                                 
                                                         
                                                             
                                                      


                                             
                        
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                                                                                            


                                                  
                     
                                                                                  
                 
                                                                                         
                                              
                    
                                                       
                                                        
                                                      
                                                 
                                                      
                                             
                
                                                                                   
                                                      
                                                               
                                                                               
         
                                                                                          
                                                    
                                                       
                                                                          
                                                                                      
               
                                                     
                                   
                       
                   
                      
                              
                     
                          
                         
                             
                                
                      
                           
                          
                                      
                         
                        
                  
                                                                          
            
                                                                  
                          
                      
                   
                        
       
                                                                        
                                          
                                             

                    
                                           
                                                  
                                
                                                                               


                                           
                        
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


                                                                     
                                                                                     
         
                         
                                                                        
                                                                                          
                                                          
                                                                                   
       
                                         
                                           
                                        
                                                 
                                                                                   
            
                                 
               
                                                                                      
       
                                                                                                
          
                                                                                              
               
                                               
                                               
                                                               
                                                                                              
             
                                                
                                                 
                                                                        
                                                     
                                              
                                              
                                           
                 
                                                                                       
                                                                                              
             
                                              
                                                      
                               
                                          
                                       
                                                                    
                                                                                        
                                 
                                    
                               
                                                    
                                              
                                             
                                       
                                         
                                                                                
         
                                                                      
                                                                                       
                                     
                                      



                                              
                           
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                                                                                             


                                                       
                                                            
                                                          
                                       
                                                 
                                                                            
                                                             
                                               
                                                     
                                                  
                                                 
                                                                                            
            
                                                      
                                                 
                                                  
                                          
                                              
                                               
                                        
                                                             
                                                                                              
           
                                                                                             
              
                                                                                             
           
                                                                                             
              
                                                                                             
             
                                                                                             
             
                                                                                              
       
                                                                                               
                                            
                                                
                                                                   
                                        
                                        
                                               
                                                     
                                                
                                         
       
                                                
                                         
                                                
                                                     
                                                  
                                                                       
                                             
                                                                                 
                
                                           
                                                  
                                          
                       
                                                                                           
                   
                                                                                       
                     
                                                   
                                                                                       

                                                
                         
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


                                      
                                             
                                         
                                                    
                                  
                                        
                                        
                                                              
                                                           
                                                                                  
               
                                                             
                                                                                  
        
                                   
                                          
                                             
                                  
                                           
   
                                                                                         
                                            
                                        
                                          
       
                                                                            
                      
                                  
                                       
                                                                              
                           
              
                                   
                                                                    
                                                                                   
                                  
                           
   
                                                                                   
                                
                                           
                                                                             
    
                                                                          
                         
   
                                                                               
                              
                                   
                               
                              
           
                                  
                                                           
                                                                                  
                                    
                                   
                                     
                         
                                                             



                                           
                          
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                                                                                             


                           
                                  
                        
       
                                                                                      
                                         
                                               
                
                             
                                            
                                                                  
    
                                                                      
                         
                  
                                                    
                                                                     
          
                                                      
                         
                                                              
         
                   
             
                                                  
                                            
                    
             
                 
                    
   
                                                                          
                        
                            
                        
         
                     
                                                                         
        
                         
                                                

                                                           
                                                                                             
                                                  
    
                                                   
                                                                                 
          
                                               
                                        
                                   
            
                                                                     
                                                                                   
        
                              
                                             
                                                
                                            
                                                                                       


                                              
                         
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


                                                     
                                                                                    
                                               
                                                      
                                                                            
                                                    
                                                         
                 
                                                                                              
                                                     
                                                 
           
                                                                                        
                                        
                                             
      
                                                                                          
                                        
                                              
                                          
                                     
                                                                      
                                                                                          
                                                     
                                                          
                                          
                               
                                       
                                  
                                  
                               
                                    
                            
                                   
                        
                   
                   
                                   
                                        
                                            
                                   
                                             
                                  
                  
                                         
                                       
                                                                                     
                                                          
                                                                                    
                                                    
                    
                                                                            
                                             
                                                                   




                                            
                       
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                                                                                             


                                                                                
                                          
                                                  
                                                       
                                                    
                                                      
                                                          
                                             
                                                                                                   
     
                                                                                                      
                                                   
                                                            
                                                         
                                                      
              
                                                                                                 
                                                  
              
                                                                                                     
              
                                                                                                      
              
                                                      
                                                  
                                                                                             
                                                              
                                                     
                                                  
                                                              
                                                       
                                               
                                          
                                              
                                                                               
                                                                                       
           
                                                                                              
           
                                                                                             
                                          
                                                               
                                                                   
                                                    
                                                                                       
         
                                                                                       
              
                                                                                       
               
                                             
                                            
                                                  
                                                                                               
                                                                              
                                                          
                                                                                           
                   
                                                                                             
                      
                                                                                           
                 
                                                                                       
                                                          
                                                  
                                                     



                                                
                         
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


                                                               
                              
                                        
                                    
                                      
                                   
        
                                                                                   
                                      
                                    
                                      
                                
                                      
                                                 
                                 
                                              
                                 
                                        
                                     
                                      
                                    
                               
          
                                   
                                                                  
                                                                           
             
                                        
                                 
                                           
                                                    
                                                                              
                                       
                                                          
                                                         
                          
                                      
                                        
                             
                                    
                               
            
       
                                                                 
         
                                                                          
              
                                                                         
             
                                                                         
               
                                                   
                                                                         
                               
                                   
             
                                                       
                                                                              
                                                           
                                  



                                            
                         
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                                                                                             


                                                               
                                           
                                                             

                               
                            
                                           
                                           
                                 
                 
                            
                            
                   
                    
                                                            
                               
                       
                                           
                                                   
                                                             
                                               
                                                                        
                              
                  
                                                                                            
                      
                                                                                            
                 
                                                                                       
                  
                                                                                 
                                           
                                                   
                                                                               
                                                                        
                                                                                             
           
                                                                                       
             
                                           
                                         
                               
                               
                                  
                                 
                                                           
                                                                       
 
                                                                      
                        
                                       
                 
                        
       
                                                                      
      
                                                                       
   
                                                                       
                                    




                                               
                         
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


                                            
                                           
                                                                   
                                           
                                               
                                                                                
                                          
                                               
                                                             
                                               
                                                          
                                                            
                                                                                             
              
                                                                             
                                                                                             
                                                 
                                         
                                    
                                                                 
                                                              
                                                                                        
            
                 
                               
                            
                                                      
                                                                   
     
                                                                      
                    
           
                              
                                                                               
                          
            
                                               
                                                                        
     
                                                                           
                                 
                              
            
                            
                           
                        
                     
               
                           
                                           
                          
                                                       
                              
                            
                                  
                  
                           




                                            
                          
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                                                                                             


                                           
                                            
                                                                    
                                                                                                   
              
                                                                                 
            
                                  
                              
             
                                                                  
            
                           
                                     
                                     
        
                                                                           
             
                                     
                
                                               
                                                                                     
                                      
                                                            
                                
                                      
                                         
                                                                             
                                                                              
            
                                       
                                     
                                                             
                                              
                                                                                  
                                                              
                                                        
                                              
                                                                                     
                                                          
             
                                         
                                           
                                                                              
             
                                             
                                        
             
                                                                                    
                                   
            
                        
                             
                                
    
                                                                        
 
                                                                          
                           
                                
                                              



                                             
                         
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


                                                                        
                                                                                              
           
                                                      
                                                           
                                                 
                                                                 
                                                 
                                                              
                                           
                                         
                                                
                                        
                                    
                                      
            
                                                                   
                                                                                       
                                                                                      
                                                                                
                                                                                        
                                                                         
                                             
                                                                             
                                                                            
                                               
                                               
                                                                         
                                                                                            
                                        
           
                                                                         
              
                                        
                                            
                                                                             
                                                                                
             
                                                    
                                                                                        
                                             
                                   
                                          
                            
      
                                                                         
              
                                                                
                                                                                 
               
                                               
                                         
                                                                         
                                            
                                                            
                                                   
                                                    




                                            
                         
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                                                                                            


                                    
          
                                                                                        
          
                                            
                                                                                                
                                                 
              
                                           
                                                                                        
                                                                                      
         
                                 
                                              
                                                                                  
                                               
                                       
                                       
                                                           
                           
                                               
                              
            
    
                                                                   
      
                                                                            
            
                                                                         
             
                          
                      
    
                                                                   
 
                                                                           
                                                                      
                                                                              
                               
                 
                                             
                                                                         




                                            
                        
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                                                                                             


       

             
                

         

             

                 
    




                                           
                         
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                                                                                          
                                                                    

       

      
              
 
         
                        
                                                                           

                                                                   
                                     
                                                                       
                                              
                                              
                             
                               
                                                        
                                                
                                    
                             
                                
                                                        
                             
                                        
        
                                                                                       
                                      
     
                                                                                  
                                    
         
                                                                        
                                                                             
          
                                                 
                                                        
                                                                                     
         
                                                                     
                                      
                                  
                                       
                                            
                                     
        
                                       
                                                                                     
     




                                            
                              
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   


        

        
 
          

            
                 
        
 
                 
 


                                    
                                  
                                  
                                                          


                                                                         
                                                                                     
                                
                                                                       
                                            
                                                                       
                                
                                    
                                  
                                                                            
                                             
                                     
                                               
                                                                              
                                        
                                                                 
                                                                                          
            
                                                                                       
           
                                                                                  
           
                                                                 
                                                                               
           
                                                  
                                                                                             
      
                                                                                     
              
                                                
                                                                                        
     
                                                                                                
            
                                                                                             
     
                                                                                               
      



                                                       
                              
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


                                              
                                                                      
                                        
                                            
                                                                              
                                   
                                                    
                                               
                                                    
                                                       
                                                                                      
                                            
                                     
          
                                                                                  
                                                                           
                                          
                                                        
                                               

                                    
                                                    
                                                                     
                                                    
                                          
                                           
                                           
                                      
                                              
          
                                                                                      
                                          
                                                
                                                                         
                                           
                                                   
                                       
              
                                            
                                                                                    
                                      
                                        
                          
                                               
                                              
                                                
                                               
                                                    
                                                                                      
                                              
                                               
                                             
               
                           
                                    
                                  
                  


                                            
                         
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                                                                                           


                                               
                                                          
                                       
                                    
                                   
                            
           
    




                                            
                          
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                                                                              
                                               

      

        
                      

        




                                       
                            
                         



                                                               
                                                                        
                                     
                                  
                                       
                                  
                      
           
                               
                   
                                                          
                                                                     
 
                       
                                                               
                                                                              
           
                                                                              
             
                                                                        
               
                             
                                       
                                             
                                                                                  
                                                      
                                      
                                                
                                                                 
                                         
                                                
                                             
                                                                      
                                                                            



                                                
             
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


                                   
                                     
                                    
                                                              
                                  
          
                                                                                 
                 
                                                                              
                 
                                                                                 
                                       
          
                                                                     
                                  
                                       
                    
                                                                       
              
                                                                       
                                       
                                  
                                         
                             
                                                         
                                   
                                 
                                     
                                                                        
                                                                         
 
               
                          
                             
                                                                         
           
                                                                   
   
                                                                        
                  
                                   
                    
       
                                                                 
                               
                        
        
                              
                               
                                                
                                                                             
                                                 
                                 
                                  
                                
                      
      




                                           
                 
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                                                                                            
                                                             

      

  


        

                                   











                                                                      
                          
                                   
                                     
                                                               
                                                            
                               
                                      
                               
             
                                           
                                             
                                      
                                                                      
                                 
                                      
                                                        
                                                                               



                                                 
                          
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                               
                                                     
                                    
                                             
                                      
       




                                           
                          
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                                                                                             


      

                             

        


                                                                        
                                
                                                                   
                                               
                                                   
                                                                    
                                
                                  
                                 
                                 
                                         
                                 
                            
                             
    




                                            
                            
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                                          
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
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                                                        
                                                   

        
        

 
              
                                                     
 




          
                 

          
                                                                  
                                                          

          
                                                     

          
                 




                                                                                      
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                                                                                                 
                                                                

      

                  

       
       

                        
                                                                                                 

                                                        



                                                                
                              
                                               
                                                                     
                                                                                 
         
                                                                                 
                                                
                                              
                                             
                                           
       
                                                                                  
                                                 
                                                    
                                                
                                       
                                              
                                              
                                                
                                          
                                                                               
                                                                                  
       
                                                                                
            
                                                                                    
                                                                   
                                  
                                           
                                           
                                   
                                   
                                    
                                           
                                               
                                               
                                       
                                                                         
        



                                            
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


                                            
                                       
           
                                                                               
           
                                                                                  
                                        
                                         
                                                           
                                                  
                                                                             
                                                                                
              
                                                                               
       
                                                                                
               
                                              
                                                 
                                               
                                                 
               
                                                                       
                                                                                  
                                   
           
                                                                                 
                                    
                                         
                                                                 
                               
                                  
                                     
       
                                 
                                              
                                                                           
                                            
                                                                 
                                          
                                        
                                                  
                                     
                                                           
                                                                                
              
                                                                                 
            
                                                                             
       
                                                                             
            
                                    
                                 
             
                                    
                                       
                                      
                                            
                                         
                                         




                                         
Case 3:20-cv-05702-MAS-ZNQ Document 1-1 Filed 05/08/20 Page 113 of 121 PageID: 125
                                                                                                            


                                   
                                    
                
                                                                                   
            
                                                                                    
            
                                                                                  
                                                               
                               
                                                
                                               
                                                                            
                                   
                                   
                                  
                             
                                            
                             
              
                                                 
                                                  
                                                                                       
                
                                                                                   
        
                                                                                     
                                         
                   
                                                                  
                                                                                      
       
                                                                                         
      
                                                                                      
            
                                                                                            
      
                                                                                      
 
                                                                              
     
                                                   
                                                     
                                                          
                                            
                                              
                                                            
                                             
                                                     
                                                        
                                 
                               
                               
           
                               
                                         
                                 
                                          
                                                                                   
 
                                                                               
                              
             




                                          
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


                                                                       
                                                                             
   
                                
                                                       
                                                                
                                                                             
                                
                                
      
                                                                         
                                  
                                    
                          
                              
                          
                            
                                                     
                      
                          
                                      
                            
                              
                                   
                                                                  
                                                          
                                                                        
             
                                           
                                                                     
                                                                               
                                     
                                  
                               
           
                                                                         
                                  
                                                   
                                      
                       
                                                                 
                                                                        
                                
           
                                                                             
                              
           
                                                                                
                                     
                                                                       
                                  
                                                                 
                                                                                  
        
                                                                                 
                                                        
                            
           




                                        
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                                                                                                            


                                        
                                       
                                        
                                   
                                      
                                      
                                          
                                    
      
                                                                               
    
                                             
                                                   
                                           
                                        
                                         
                                                          
                                         
                                                                                   
          
                                                
                                    
                                 
                                                             
                                      
                                                                   
                                                                               
             
                                                                            
       
                                                                    
                                                                                       
                                        
                                          
                                
                                 
                                                                      
                                                    
                                                                                       
                                      
                                                       
                                    
                                       
                                     
                                                                             
                                                
                                                      
                                                                                   
                                                
                                                                 
                                                                
                                              
                                              
                                                                  




                                          
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


                                            
                                            
                                    
                                                                                 
                                                           
                                   
                                              
                                                                    
                                                                               
           
                                                                                
                                     




                                      
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                                         
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  
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          
                           


         

         
            
           



           






                                                                                    
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        

       


       
       
       

        
         
      
         
                  
         
   
       


              

  

 





                                                                                            
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          
                      


      
  




